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 1   [Submitting counsel on signature page]
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11                                  UNITED STATES DISTRICT COURT

12                               NORTHERN DISTRICT OF CALIFORNIA

13                                      SAN FRANCISCO DIVISION

14
15   IN RE JUUL LABS, INC., MARKETING,             CASE NO. 19-md-02913-WHO
     SALES PRACTICES, AND PRODUCTS
16   LIABILITY LITIGATION                           REPLY IN SUPPORT OF MOTIONS FOR
17                                                  FINAL APPROVAL OF JLI CLASS
     This Document Relates to:                      ACTION SETTLEMENT AND
18                                                  ATTORNEYS’ FEES, EXPENSES, AND
19   All Class Actions                              SERVICE AWARDS

20                                                  MOTION HEARING
21                                                  DATE: August 9, 2023
22                                                  TIME: 2:00 PM
                                                    LOCATION: Courtroom 2
23
                                                   HON. WILLIAM H. ORRICK III
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 1   I.      INTRODUCTION
 2           On June 23, 2023, Class Plaintiffs filed a motion seeking final approval of the Class Action
 3   Settlement with JUUL Labs, Inc. (“JLI”) and the Released Parties (the “JLI Settlement” and the “Final
 4   Approval Motion,” Dkt. 4054) and Class Counsel filed a motion seeking the payment of attorneys’ fees,
 5   expenses, and service awards (the “Fee and Expense Motion,” Dkt. 4055). In contrast to the few
 6   objections received, the positive response from the class confirms the fairness and adequacy of the JLI
 7   Settlement and the reasonableness of the requested fees, expenses, and service awards.
 8           Out of millions of class members, the only objections to final approval of the settlement were
 9   filed by one public-interest organization that does not challenge the fundamental fairness, suggesting
10   instead that a portion of the money be spent differently. Other objectors challenge the rejection of
11   aggregated claims submissions by a third-party filer, voice disagreement with the premise of the
12   lawsuit, or provide no basis at all for their objections. The relative lack of objections addressing the
13   terms of the settlement reflects the significant value it delivers to the class: a $255 million non-
14   reversionary cash fund, and resolution of hotly contested litigation. The millions of claim forms
15   submitted to date reflect the strong response from the class.
16           No objections to the requested expense payments or service awards were filed, and only one
17   class member, Reilly Stephens, objected to the requested fee award. Contrary to Mr. Stephens’ belief,
18   success in this litigation was by no means assured. The case became even riskier as JUUL appeared
19   destined for bankruptcy court. Stephens is also wrong to believe that the $255 million settlement before
20   the Court is attributable to government investigations or other extrinsic factors, rather than Class
21   Counsel’s skill and creativity in bringing this case to trial, and manifest willingness to bear the risk of a
22   loss at trial. Under Ninth Circuit authority, both the results and the work performed to achieve those
23   results support an upward adjustment from the 25% benchmark. The Ninth Circuit’s well-settled
24   approach to attorneys’ fees is case-specific and should not be supplanted with a context-blind reliance
25   on average fee awards from a spectrum of other cases. Stephens’ challenges to counsel’s lodestar are
26   misguided, and in any event, even if applied, do not change the result: the requested fee award is
27   reasonable.
28
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 1          In light of the robust response from the class and the lack of sustainable objections, Class
 2   Plaintiffs request that the Court grant final approval of the JLI Settlement and Class Counsel requests
 3   that the Court grant their requested attorneys’ fee, expense, and service awards.
 4   II.    THE COURT SHOULD GRANT FINAL APPROVAL OF THE SETTLEMENT AND
 5          CERTIFY THE SETTLEMENT CLASS

 6          A.      The Response of the Class
 7          In the Final Approval Motion, Class Plaintiffs described how the relevant factors, including “the
 8   reaction of class members to the proposed settlement,” weighed strongly in favor of approval of the JLI
 9   Settlement. Dkt. 4054 at 7-19; Churchill Village, L.L.C. v. Gen. Elec., 361 F.3d 566, 575 (9th Cir.
10   2004). Now that the deadline for claims, opt-out requests, and objections has passed, Class Plaintiffs can
11   more fully assess the reaction of the Class. As set forth below, the response from Class Members was
12   overwhelmingly positive and supports approval of the JLI Settlement.
13          Claims: Of the estimated six to eleven million Class Members (Sharp Reply Decl., ¶¶ 24–25),
14   approximately 2.7 million received direct notice of the JLI Settlement, and the remainder received
15   indirect publication notice. Supplemental Declaration of Cameron R. Azari ¶ 6. In response to the
16   settlement notice, Epiq received 6,349,982 claims. Id. ¶ 36. The process of reviewing these claims is
17   ongoing and, while many appear invalid, even if only 20% of the claims are paid to Class Members, the
18   overall claims rate for the Class will be between 12% and 21%.
19          By any measure, these claims rates represent a positive reaction from the Class, and thus support
20   the JLI Settlement. See Schneider v. Chipotle Mexican Grill, Inc., 336 F.R.D. 588, 599 (N.D. Cal. 2020)
21   (“0.83% claims rate” was “on par with other consumer cases”); Broomfield v. Craft Brew Alliance, Inc.,
22   2020 WL 1972505, at *7 (N.D. Cal. Feb. 5, 2020) (finding claims rate “of about two percent” to be
23   consistent with the rates in other large class actions); In re Linkedin User Privacy Litig., 309 F.R.D. 573,
24   589 (N.D. Cal. 2015) (6% claims rate represented a “positive reaction by the class”); Fraser v. Asus
25   Comp. Int’l, 2013 WL 3595940, at *2 (N.D. Cal. July 12, 2013) (“[T]he large number of class members
26
27
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 1   wishing to participate in the settlement is evidence that the settlement is reasonable and should be
 2   approved.”).1
 3          Opt-Outs: Out of the millions of Class Members, 2,620—or between 0.02% and 0.04% of the
 4   class—have sought to exclude themselves from the JLI Settlement. Supp. Azari Decl. ¶ 37. The low
 5   number of opt-out requests relative to the estimated range in the size of the Class also weighs strongly in
 6   favor of approval. See In re MacBook Keyboard Litig., 2023 WL 3688452, at *9 (N.D. Cal. May 25,
 7   2023) (finding that the “low number . . . of opt-outs relative to the size of the class weighs in favor of
 8   approving the Settlement” where 1,733 exclusion requests we received out of 718,651 eligible class
 9   members); Quiruz v. Specialty Commodities, Inc., 2020 WL 6562334, at *7 (N.D. Cal. Nov. 9, 2020)
10   (approving settlement with 0.09% opt-out rate, and noting that “[o]pt-out percentages of nearly 5% have
11   been deemed so ‘overwhelmingly positive’ as to support approval”).
12          Objections: Of the 451 objections to the JLI Settlement,2 only two address the substance of the
13   JLI Settlement. Neither of those objections calls into question the sufficiency of the key components of
14   the JLI Settlement: the $255 million cash payment in the face of substantial litigation risk, and a release
15   of economic loss claims. The lack of substantive objections to the JLI Settlement—particularly in
16   comparison to the millions of Class Members and claims received—itself “raises a strong presumption
17   that the terms of a proposed class settlement action are favorable to the class members.” In re
18   Omnivision Techs., Inc., 559 F. Supp. 2d 1036, 1043 (N.D. Cal. 2008) (citation omitted); see also
19   Rodriguez v. W. Publ’g Corp., 563 F.3d 948, 967 (9th Cir. 2009) (approving district court’s finding that
20   the class reacted favorably where there were “only fifty-four submitted objections” out of 376,301 class
21   members); Churchill, 361 F.3d at 577 (affirming approval of class action settlement where 45 out of
22   90,000 class members objected to the settlement); Knisley v. Network Assocs., Inc., 312 F.3d 1123, 1125
23
     1
      The high volume of claims—and the work that will be needed to screen invalid claims—further
24
     supports Class Plaintiffs’ request for the payment of up to $7 million to Epiq for settlement notice and
25   administration costs. Final Approval Motion at 23-24.
     2
26    In total, 452 objections were submitted, only one of which—the Stephens objection, addressed
     below—takes issue with the requested attorneys’ fees, rather than approval of the JLI Settlement. Class
27   Plaintiffs’ July 21 notice provided a slightly lower number of objections (see Dkt. 4075), because
     untimely objections (addressed in the context of the third-party filer discussion below) were received by
28   counsel after the July 21 filing.
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 1   (9th Cir. 2002) (dismissing objection after approval of settlement to which six class members out of
 2   roughly 150,000, or 0.004%, objected).
 3          The other 449 objections consist of: (1) two objections that voiced disagreement with the
 4   premise of the lawsuit, (2) four that provided no basis for the objection at all, and (3) 443 form
 5   objections submitted by “ClaimClam”—a third-party filer that sought to submit claims on behalf of tens
 6   of thousands of alleged class members—and its clients. Even if these objections were legitimate
 7   critiques of the JLI Settlement (they are not, for the reasons detailed below), the total number of
 8   objections is small in light of the class size and volume of claims. See In re Google Plus Profile Litig.,
 9   2021 WL 242887, at *4 (N.D. Cal. Jan. 25, 2021) (approving settlement with 761 objections out of
10   millions of class members).
11          Each of the objections to the JLI Settlement is addressed in detail in the following section. For
12   the Court’s reference, Appendix A includes a chart that identifies where in the record each objection (or
13   group of related objections) can be found on the docket.
14          B.      The Objections Provide No Basis to Reject the Settlement
15                  1.      The PHAI Objection (Dkt. 4062) Is Legally Unsupportable and Seeks Relief
                            That is Both Unrelated to the Economic Loss Claims in the Class Action and
16                          Provided Through Other Settlements in the MDL
17          Matthew Murphy, Cade Beauparlant, and Marianne Savage, who are represented by the Public
18   Health Advocacy Institute (“PHAI Objectors”), argue that the JLI Settlement is not fair, reasonable, and
19   adequate unless $30 million of the proposed Settlement Fund is allocated to a non-profit cy pres
20   recipient “dedicated to delivery” of “effective treatment methods for nicotine addiction among
21   adolescents.” Dkt. 4062 at 1. In essence, the PHAI Objectors request that the Court modify the JLI
22   Settlement to divert funds from Class Members to a cy pres recipient.3 The Court should deny the PHAI
23   Objectors’ request because the JLI Settlement is fair, reasonable, and adequate, particularly because all
24   or virtually all available Settlement Funds will be distributed directly to injured Class Members. In
25
26
     3
       PHAI Objectors ask too much of the Court, as courts “may not delete, modify, or substitute certain
27   provisions” of a settlement agreement. In re Bluetooth Headset Prod. Liab. Litig., 654 F.3d 935, 948
28   (9th Cir. 2011) (quoting Officers for Justice v. Civil Serv. Comm’n of San Francisco, 688 F.2d 615, 630
     (9th Cir. 1982).
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 1   addition, the relief the PHAI Objectors seek is outside the scope of Class Plaintiffs’ economic loss
 2   claims and is already provided in large part by the other settlements, inside and outside of this MDL, as
 3   described below.
 4                           a)      Distribution of Settlement Funds to Class Members is Preferable to
 5                                   Cy Pres Distributions

 6           After years of hard-fought litigation, Class Plaintiffs and JLI reached an agreement to create a
 7   $255 million fund to compensate Class Members for the economic losses they suffered through JLI’s
 8   alleged conduct. See generally Final Approval Motion, § II.A.–B. The JLI Settlement provides
 9   substantial monetary recovery to injured Class Members, avoids the risks of continued litigation, and
10   releases JLI from the threat of future economic loss claims. Id., §§ II.B., III.A.
11           The PHAI Objectors’ argument to allocate $30 million of the Settlement Fund to a cy pres
12   recipient is contrary to the “strong preference for distribution to class members instead of cy pres
13   distributions.” Reid v. I.C. Sys. Inc., 2021 WL 4710779, at *3 (D. Ariz. Sept. 2, 2021) (authorizing
14   second cash distribution to class members over cy pres distribution despite settlement agreement not
15   containing provision for second distribution); In re Anthem Inc. Data Breach Litig., 327 F.R.D. 299, 333
16   (N.D. Cal. 2018) (Koh, J.) (describing “the law’s general preference for cy pres awards to be limited to
17   scenarios where it is not feasible to make further distributions to class members”). The JLI Settlement is
18   in-line with numerous other settlements of economic loss claims that provide for cash distributions to
19   class members. See e.g., In re Toyota Motor Corp. Unintended Acceleration Mktg., Sales Pracs., &
20   Prod. Liab. Litig., 2013 WL 12327929, at *2 (C.D. Cal. July 24, 2013) (granting final approval of
21   settlement resolving economic loss claims that provided cash distribution and “eliminated” spillover cy
22   pres contributions in favor of remaining settlement funds escheating pursuant to applicable State law).
23   That the Settlement Fund will likely be exhausted through distribution to Class Members, rather than
24   resorting to a less-preferred cy pres distribution, itself supports the finding that the JLI Settlement is fair,
25   reasonable, and adequate.
26           Even if a cy pres distribution was preferable to paying injured class members, the Ninth Circuit
27   has made clear that just because a settlement could have been better, or could have offered a different
28   form of relief, does not mean the settlement is not fair, reasonable, and adequate. Hanlon v. Chrysler
                                            5
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 1   Corp., 150 F.3d 1011, 1027 (9th Cir. 1998), overruled on other grounds by Wal-Mart Stores, Inc. v.
 2   Dukes, 564 U.S. 338 (2011) (“Of course it is possible, as many of the objectors’ affidavits imply, that
 3   the settlement could have been better. But this possibility does not mean the settlement presented was
 4   not fair, reasonable or adequate.”); see also Ross v. Trex Co., Inc., 2013 WL 6622919, at *4 (N.D. Cal.
 5   Dec. 16, 2013) (noting court’s role is not to examine whether a settlement “could have been better by
 6   providing different or additional relief.”). For example, in Edwards v. National Milk Producers
 7   Federation, the Court granted final approval over an objection “that the settlement does not provide for
 8   ‘a new program to encourage, fund, and foster small local dairy producers’” and instead provided cash
 9   compensation. 2017 WL 3616638, at *6 (N.D. Cal. June 26, 2017), objections overruled, 2017 WL
10   3623734 (N.D. Cal. June 26, 2017), aff’d sub nom. Edwards v. Andrews, 846 F. App’x 538 (9th Cir.
11   2021). The court noted that the Ninth Circuit has made clear that its inquiry “is not whether the final
12   product could be prettier, smarter or snazzier, but whether it is fair, adequate and free from collusion.”
13   Id. (citing Hanlon, 150 F.3d at 1027). Similarly, in Vianu v. AT&T Mobility LLC, the court granted final
14   approval of a settlement over an objection that the settlement was inadequate because it lacked
15   injunctive relief, finding cash compensation was sufficient. 2022 WL 16823044, at *8 (N.D. Cal. Nov.
16   8, 2022). PHAI Objectors’ preference for a different form of relief does not, and cannot, undermine the
17   reasonableness of the JLI Settlement.
18
                            b)      The Relief PHAI Objectors Was Never Part of this Class Action
19
            The relief PHAI Objectors seek—equitable relief to redress harm to addicted persons and to
20
     public health—may be laudable, but was never part of this class litigation. The consolidated class action
21
     complaints at all times focused exclusively on providing compensation for economic injuries to JUUL
22
     purchasers. The release is similarly tailored to claims arising out of “economic loss.” Settlement, § 1.29.
23
     So the equitable fund the objection requests is not something that the Class could have achieved at trial.
24
     While a settlement can provide for relief that could not have been obtained through litigation, the fact
25
     that this case was litigated with a sole focus on compensation for economic harm demonstrates that the
26
     JLI Settlement’s redressing of those injuries is fair and reasonable. Moreover, the PHAI objection does
27
     not acknowledge that the injuries to persons and to public health are redressed by the substantial
28
     government entity, tribal, and attorney general settlements reached with JLI. The MDL settlements
                                                           6
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 1   provide funds to more than 1,400 government entities and 32 tribes, helping them to prevent and
 2   mitigate youth use of e-cigarettes across the United States. In addition, in the wake of work performed in
 3   the MDL (described further below), attorneys general from numerous states have recovered
 4   approximately $1 billion in settlements and injunctive relief regulating JLI’s conduct going forward.4
 5
                      2.     The Gugliotta Objection (Dkt. 4026) Should be Overruled for the Reasons
 6                           Provided in the Final Approval Motion

 7            John Gugliotta submitted an objection in May 2023 and Class Plaintiffs addressed that objection
 8   in their Final Approval Motion. Dkt. 4054 at 15-16. As set forth in the motion, similar objections by
 9   Gugliotta (i.e., that JLI should have admitted fault as part of a private settlement, and that the JLI
10   Settlement should have addressed the conduct of the entire e-cigarette industry) have been rejected by
11   other courts and have no bearing on whether the relief provided to the class is adequate.
12
                      3.     The Ashak and Marcom Objections (Dkts. 4086-1 and 4033) Express
13                           Disagreement with the Litigation, But Not the JLI Settlement

14            Two objections—submitted by Olin Ashak and Samuel Marcom (Dkts. 4086-1 and 4033)—do
15   not take issue with any aspect of the JLI Settlement, but instead express disagreement with the premise
16   of the lawsuit (suggesting it never should have been brought in the first place). Marcom’s preferred
17   outcome is not for the JLI Settlement to be rejected, but for the “case to be thrown out” (which he at the
18   same time recognizes would not happen). Dkt. 4033.5 And Ashak likewise wishes to “voice my
19   disagreement and objection to the lawsuit.” Dkt. 4086-1. Disagreement with the litigation itself “is not a
20   basis for denying the motion for final approval.” Quiruz, 2020 WL 6562334, at *8; see also Perkins v.
21   Linkedin Corp., 2016 WL 613255, at *4 (N.D. Cal. Feb. 16, 2016) (overruling objections that “oppose
22
23   4
       https://ag.ny.gov/press-release/2023/attorney-general-james-secures-462-million-juul-its-role-youth-
     vaping- epidemic#:~:text=As%20part%20of%20a%20multistate,abatement%20programs%20
24
     across%20the%20state (describing six-state settlement with JLI for $462 million and injunctive relief
25   aimed at addressing the youth nicotine epidemic); https://www.texasattorneygeneral.gov/news
     /releases/paxton-announces-439-million-multistate-settlement-juul-deceptive-marketing-and-sales-
26   practices (describing 34-state settlement with JLI providing $438.8 million in compensation);
     https://www.nytimes.com/2021/06/28/health/juul-vaping-settlement-north-carolina.html (describing $40
27
     million settlement between JLI and the State of North Carolina).
28   5
         Class Counsel also addressed the Marcom objection in their Final Approval Motion. Dkt. 4054 at 15.
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 1   the claims alleged” and “appear to support no recovery for the Class”); Ko v. Natura Pet Prods., Inc.,
 2   2012 WL 3945541, at *6 (N.D. Cal. Sept. 10, 2012) (“[A]n objection based on a concern for the
 3   Defendants and an apparent non-substantive assessment of the frivolity of the action are not germane to
 4   the issue of whether the settlement is fair.”).
 5           The Ashak objection also asserts that the objection process was “difficult” without any further
 6   specificity. Id. Courts routinely overrule challenges to the objection procedures. See In re Facebook
 7   Internet Tracking Litig., 2022 WL 16902426, at *6 (N.D. Cal. Nov. 10, 2022) (signature requirement
 8   and disclosure of personal information not unreasonable); DeMarco v. Avalonbay Communities, Inc.,
 9   2017 WL 960355, at *3 (D.N.J. Mar. 13, 2017) (“the procedure of requiring opt-outs and objections to
10   be sent to the Clerk of the Court and to counsel for the parties to this federal action is neither onerous
11   nor unusual in a class action”). Orders preliminarily certifying settlement classes have set forth similar
12   procedures. See, e.g., Moore v. Verizon Commc’ns Inc., 2012 WL 12920712, at *5 (N.D. Cal. Feb. 28,
13   2012) (objection procedure requiring “a detailed statement of objections to be made, including all
14   factual and legal support for such objection . . . any evidence supporting the objection that is intended to
15   be introduced in support of the objection, including evidence of the objector’s membership in the
16   Settlement Class . . . whether the objector or objector’s counsel intends to appear at the Final Approval
17   Hearing.”); Razo v. AT&T Mobility Servs., LLC, 2022 WL 4586229, at *18 (E.D. Cal. Sept. 29, 2022)
18   (similar).
19                  4.      The ClaimClam Objections (Dkts. 4087-90) Are Irrelevant to the Fairness of
                            the JLI Settlement and Class Counsel’s Decision to Disallow Third-Party
20                          Filed Claims Was Reasonable
21           The next set of objections come from a third-party filer, ClaimClam, and hundreds of its clients,
22   who object to the requirement that Class Members submit their claims individually, as opposed to
23   through ClaimClam. Class Counsel directed the Settlement Administrator to reject the claims submitted
24   en masse by ClaimClam based on concerns about third-party filers in general—concerns that were borne
25   out by ClaimClam’s misleading and incomplete communications to Class Members.
26           The Court has discretion to set procedures for the claims process and it is well within that
27   discretion to impose requirements designed to ensure due process and to prevent unauthorized or
28   fictitious claims, opt-outs, and objections. See, e.g., In re Equifax Inc. Customer Data Sec. Breach Litig.,
                                            8
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 1   999 F.3d 1247, 1266 (11th Cir. 2021) (“The District Court was well within its broad discretion to
 2   impose the requirements” for such purposes); In re Deepwater Horizon, 739 F.3d 790, 809 (5th Cir.
 3   2014) (proof of class membership requirement imposed on objector a “legitimate exercise” of court’s
 4   discretion to minimize abuse); Gulf Oil Co. v. Bernard, 452 U.S. 89, 100 (1981) (“Because of the
 5   potential for abuse, a district court has both the duty and the broad authority to exercise control over a
 6   class action and to enter appropriate orders governing the conduct of counsel and parties.”). The Court
 7   should exercise that discretion here and affirm Class Counsel’s decision to disallow third-party filed
 8   claims.
 9             The Court should also overrule the hundreds of nearly identical objections submitted by
10   ClaimClam’s clients, which were solicited by and follow a template provided by ClaimClam. See In re
11   Equifax Inc. Customer Data Sec. Breach Litig., 2020 WL 256132, at *14 (N.D. Ga. Mar. 17, 2020),
12   aff’d in part, rev’d in part on other grounds, 999 F.3d 1247 (11th Cir. 2021) (rejecting 718 form
13   objections “submitted en masse by . . . a class action claims aggregator that created a website . . . that
14   encouraged individuals to object based on [] erroneous information”).
15             Class Counsel’s priority is to ensure that Class Members receive accurate information about the
16   JLI Settlement and, if they then choose to submit a claim, receive their fair share of the Settlement.
17   Thus, if the Court overrules ClaimClam’s objection, Class Counsel will nonetheless permit affected
18   Class Members an opportunity to resubmit their claims on their own behalf, and to treat those
19   resubmitted claims as timely, subject to the Court’s approval.
20                           a)      ClaimClam Background
21             Zimin Hang objected to the JLI Settlement “both as a Class Member” and “as the CEO of
22   Communion Inc. (DBA ClaimClam).” Sharp Reply Decl., Ex. 3 (“Hang Objection”).6 ClaimClam is a
23   third-party filer, soliciting and submitting claims en masse to various class action settlements for its
24
25
     6
26    Although Zimin Hang electronically signed the correspondence and it otherwise appears to be from
     him, the attestation provides: “I declare under penalty of perjury under the laws of the United States of
27   America that Heather Aubuchon is a member of the Class.” Id. Class Counsel presume this was a copy-
     paste error, as Heather Aubuchon has not otherwise submitted an objection to the JLI Settlement. Even
28   setting aside this procedural deficiency in Hang’s objection, the Court should reject it on the merits.
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 1   clients in exchange for 15% of their recoveries. Id., ¶ 28 & Ex. 4 at 34. Hang objects to the JLI
 2   Settlement based on the rejection of third-party filer claims.
 3          In addition to the objection by Hang, ClaimClam solicited objections to the JLI Settlement from
 4   its clients and drafted objections for them based on a template objection form. See Id., ¶¶27, 33 & Ex.
 5   8. ClaimClam clients ultimately submitted 442 objections to the Settlement Administrator regarding the
 6   rejection of claims submitted by ClaimClam, all of which appear to have been created using
 7   ClaimClam’s template. Id. See Equifax, 2020 WL 256132, at *10 (placing little weight on objections
 8   made “at the behest” of others). Importantly, none of the ClaimClam objections argue that the JLI
 9   Settlement itself is unfair or inadequate, and instead they protest only the rejection of claims submitted
10   through an agent. Many of these 442 template objections have significant procedural deficiencies.7 But
11   because they provide no basis to reject the JLI Settlement, the Court should overrule on the merits all
12   objections related to ClaimClam.
13                          b)      Class Counsel Have Valid Concerns About Third-Party Filers
14          When the issue of third-party filers arose in this case, Class Counsel considered the relevant law
15   and then directed the Settlement Administrator to reject claims submitted by third-party filers based on
16   legitimate concerns about allowing such claims.
17          To protect Class Members’ due process rights, rule 23(c) requires the Court to “direct to class
18   members the best notice that is practicable under the circumstances,” and provides that “[t]he notice
19   must clearly and concisely state in plain, easily understood language:
20
            (i) the nature of the action; (ii) the definition of the class certified; (iii) the class claims,
21          issues, or defenses; (iv) that a class member may enter an appearance through an attorney
            if the member so desires; (v) that the court will exclude from the class any member who
22          requests exclusion; (vi) the time and manner for requesting exclusion; and (vii) the binding
            effect of a class judgment on members under Rule 23(c)(3).
23
24
25
     7
26     137 of the 442 ClaimClam client objections are procedurally deficient in one or more ways. See Order,
     Dkt. 3779 (setting requirements for information objectors must provide). 129 objections were untimely.
27   Eighteen did not include the required attestation that the objector is a Class Member, eleven fail to
     include the name and contact information of the objector, and seven objections do not include the
28   template’s narrative describing the basis of their objection, or any other basis. Sharp Reply Decl., ¶ 27.
                                              10
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 1   Fed. R. Civ. P. 23(c)(2)(B). The purpose of these requirements is “is to present a fair recital of the
 2   subject matter of the suit and to inform all class members of their opportunity to be heard.” In re
 3   Gypsum Antitrust Cases, 565 F.2d 1123, 1125 (9th Cir. 1977). In its Order directing notice of the JLI
 4   Settlement to the Class, the Court evaluated and approved the Notice Plan here, “including the form,
 5   method, and content of the proposed notices (as revised), as well as the proposed claim forms.” Dkt.
 6   3779 at 7. It made a preliminary finding that the notice complies with Due Process and Rule 23. Id.
 7          Third-party filers and claims aggregators like ClaimClam are bound by none of these rules or
 8   requirements, and thus can frustrate the Court approved communications to the Class. “Misleading
 9   communications to class members concerning the litigation pose a serious threat to the fairness of the
10   litigation process, the adequacy of representation and the administration of justice generally.” In re
11   School Asbestos Litigation, 842 F.2d 671, 680 (3d Cir.1988) (citing Gulf Oil Co. v. Bernard, 452 U.S.
12   89, 101 n.12 (1981)). “[U]napproved communications to class members that misrepresent the status or
13   effect of the pending action also have an obvious potential for confusion and/or adversely affecting the
14   administration of justice.” Gulf Oil, 452 U.S. at 101 n.12. The risk of unfairness or confusion is
15   significant because there is no assurance that a third-party filer’s communications are accurate and
16   complete.
17          In addition, because they receive a percentage of all settlement proceeds obtained for their
18   clients, entities like ClaimClam have little incentive to ensure the claims it solicits are authentic. Courts
19   often cite similar concerns in rejecting mass objections and opt-outs of class settlements. For example,
20   the court in Equifax rejected objections to a personal signature requirement, noting it was “of particular
21   importance in this case, to ensure that the objection is made in the objector’s personal capacity, and not
22   at the behest of others. And, the personal signature requirement decreases the likelihood that services
23   encouraging mass objections or opt-outs file unauthorized or fictitious objections.” 2020 WL 256132, at
24   *26. The Equifax court further noted:
25
            While technology provides an avenue for filing claim forms more easily, it also makes it
26          easier for third parties and their counsel to file unauthorized ‘mass opt-outs,’ which are
            sometimes ‘highly indicative of a conclusion that such counsel did not spend much time
27          evaluating the merits of whether or not to opt-out in light of the individual circumstances
            of each of their clients and in consultation with them.’
28
                                            11
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 1   Id. Aggregated claims submitted by a financially-interested third-party filer raise similar concerns to
 2   mass opt-outs and objections.
 3                          c)       ClaimClam Validates Class Counsel’s Concerns
 4          ClaimClaim’s communications with Class Members turned out to be incomplete and
 5   misleading, creating confusion amongst the Class and ClaimClam’s clients.
 6          ClaimClam solicited Class Members to submit claims without first providing any of the required
 7   notice content. The home page of ClaimClam’s website, https://www.getclaimclam.com, prompts users
 8   to “get what you’re entitled to” from class action settlements. Sharp Reply Decl., ¶¶ 28-29 & Ex. 4 at 1.
 9   After clicking a button to “get started,” users are provided with the following information: “Juul Labs,
10   Facebook, and other US companies have agreed to pay over $1 billion as a result of class action
11   settlements. Your claim value could be worth $300 or more. Complete the intake form to find out how
12   much you’re entitled to.” Id., ¶ 29 & Ex. 4 at 7. If a user indicates that they did purchase JUUL
13   Products before December 7, 2022 (id. at 8), the user is automatically taken through a webform that
14   asks for the data points on the claim form in this case, such as the volume of retail purchases and dates
15   of first and last purchase (id., ¶ 29 & Ex. 4 at 9-17). On the page in the form where users can upload
16   documentation of their purchases, ClaimClam tells Class Members—inaccurately—that “without
17   documentation the amount of money you receive from your claim will be limited to a maximum of
18   $300.” Id., ¶ 29 & Ex. 4 at 17. Only after all this information is provided by the user does ClaimClam
19   indicate that continuing through the form will result in their filing a claim “on your behalf.” Id., ¶ 29 &
20   Ex. 4 at 21. It collects the user’s contact information, terms of service, and finally, acceptance of an
21   “Authorized Agent Agreement,” before submitting the claim. Id., ¶ 29 & Ex. 4 at 22-30. At no point
22   before users commit to having ClaimClam submit a claim for them are Class Members informed of a
23   single piece of key information about the case (id., ¶ 29)—not what the lawsuit was about, that they will
24   be releasing claims against certain defendants if they submit a claim, which claims they will release,
25   how the class is defined, not even the name of the court case. Cf. Fed. R. Civ. P. 23(c)(2)(B) (requiring
26   notice include “the nature of the action,” “the definition of the class,” “the class claims, issues, or
27   defenses,” “that the court will exclude from the class any member who requests exclusion” and more).
28
                                            12
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 1             Responses by Class Members confirm that ClaimClam’s approach caused significant confusion.
 2   Sharp Reply Decl., ¶¶ 30–31 & Exs. 5–7. At least one Class Member received an email from
 3   ClaimClam and forwarded it to the Settlement Administrator to “verify its validity,” saying “I’m
 4   concerned with it being potential spam, but I’m unsure how they would have gathered my personal
 5   information in order to contact me.” Id., ¶ 30 & Ex. 5. Other Class Members posted screenshots of the
 6   email in a Facebook group for class action settlements asking if it was a scam. Id., ¶ 31 & Exs. 6–7.
 7             ClaimClam also provided false, incomplete, and misleading information in direct
 8   communications with Class Members. For example, when ClaimClam informed its clients that the
 9   Settlement Administrator rejected third-party claims, it included 1) a misrepresentation of the value of
10   their claim if they were to opt out of the JLI Settlement (listing what appears to be the estimated value
11   of the Class Member’s JUUL purchases), 2) a promise to “work with a law firm in TX to help you file a
12   new suit and recover the maximum compensation, at no cost to you” for their clients who opt out,
13   without any reference to the possibility that a claim may be time barred, 3) an estimate of the payment
14   the Class Member would receive if they refile their claim directly, repeating the incorrect assertion that
15   Class Members with no documentation of their purchases will receive $300. See, e.g., id., ¶ 32 & Ex. 5.
16             ClaimClam also appears to have told its clients that the official claims process would be too
17   difficult and confusing for them to complete on their own. The template objection that ClaimClam
18   drafted for each objecting client coaches the Class Member to say: “I find the class action claims filing
19   process to be unduly burdensome” and that ClaimClam “made the filing easier for me by simplifying
20   the language and breaking it down into smaller, more manageable pieces.” Id., ¶ 33 & Ex. 8
21   (forwarding directly ClaimClam’s email with the draft objection). But ClaimClam simplified the
22   language only by removing the entire content of the Court-approved notice. See id., ¶ 29. Some Class
23   Members recognized this disconnect. For example, one Class Member submitted ClaimClam’s template
24   objection, but later withdrew it, telling the Settlement Administrator that they “filed the claim on my
25   own as needed without the help of my advisor as was the original problem” and that “the process on the
26   website was easier than anticipated and did not need [ClaimClam’s] assistance as I thought.” Id., ¶ 34 &
27   Ex. 9.
28
                                            13
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 1           Each of the above examples reinforce that Class Counsel’s concerns about allowing third-party
 2   filers to submit claims en masse are well-founded. ClaimClam’s incomplete and misleading
 3   communications to Class Members “pose a serious threat to the fairness of the litigation process,” In re
 4   School Asbestos Litigation, 842 F.2d at 680, caused real confusion, and risk “adversely affecting the
 5   administration of justice.” Gulf Oil, 452 U.S. at 101 n.12. Those Class Members whose claims
 6   ClaimClam attempted to submit will be given an opportunity to make a fully informed decision to
 7   resubmit their claims directly. The Court should deny ClaimClam’s objections and each of the template
 8   objections of its clients.
 9
                     5.      The Ready, Stampdfer, Stawicki, and Toole Objections (Dkts. 4086-2, 4086-3,
10                           4077, 4086-4) Provide No Basis for Their Objections

11           The final four objections to the JLI Settlement all state that they “respectfully object” to the
12   settlement without providing any reason why. Such bare-bones objections provide no basis to question
13   the fairness of the JLI Settlement. In addition, the Stawicki objection is untimely, as it was dated July 18
14   (Dkt. 4077), four days after the applicable deadline.
15
     III.    THE COURT SHOULD GRANT THE REQUEST FOR ATTORNEYS’ FEES,
16           EXPENSES, AND SERVICE AWARDS

17           Only one objection (from Reilly Stephens) takes issue with Class Counsel’s requested award of
18   attorneys’ fees. Stephens’ objection does not challenge the fairness or reasonableness of the JLI
19   Settlement, or the requested expense reimbursement and service awards. Dkt. 4063. Stephens’ focus is
20   attorneys' fees, but none of the arguments he offers warrants the reduction in fees he proposes.
21           Given the results achieved, the considerable litigation risks, the skill and quality of work
22   performed, and the contingent nature of the representation, 8 Ninth Circuit authority supports an upward
23   adjustment from the 25% benchmark here. Stephens’ reliance on average fee awards in other cases is
24
     8
       Stephens argues this factor is obsolete based on the Ninth Circuit’s decision 2011 decision in
25
     Bluetooth. Stephens Obj. at 24. The Ninth Circuit has subsequently reaffirmed the relevance of “delays
26   in payment inherent in contingency-fee cases,” which allows for enhancements to historical hourly rates
     (which were used here) or current rates for all hours. Stetson v. Grissom, 821 F.3d 1157, 1166 (9th Cir.
27   2016); see also Stetson v. West Publishing Corp., 714 Fed.App’x 681, 682 (9th Cir. Oct. 30, 2017)
28   (“[t]he district court erred by failing to update the lodestar calculation to compensate for the delayed
     payment”).
                                                            14
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 1   contrary to the Ninth Circuit’s directive to consider the circumstances of the case at issue and the work
 2   performed to achieve the results. And as to the lodestar cross-check, Stephens misses the point that a
 3   cross-check is not a forensic exercise but a discretionary and “quick” means for the Court to confirm
 4   the reasonableness of the fee award, In re Online DVD-Rental Antitrust Litig., 779 F. 3d 934, 955 (9th
 5   Cir. 2015), and requires “entail neither mathematical precision nor bean counting,” Bellinghausen v.
 6   Tractor Supply Co., 306 F.R.D. 245, 264 (N.D. Cal. 2015). Moreover, Stephens’ proposed adjustments
 7   are neither well-founded nor would they change the ultimate conclusion that the requested fee is
 8   reasonable. Overall and considering the facts of this case and the work performed, Stephens offers no
 9   convincing reason why a 30% fee award would be a “windfall,” much less why an award of a mere
10   15% would be warranted.
11          A.      Stephens’ Challenges to the Percentage Fee Award Are Unfounded
12          Class Counsel and Stephens agree that the Court has a duty to ensure that fee awards are
13   reasonable and do not result in a windfall to class counsel to the detriment of the class. See Stephens
14   Obj. at 2-3. As discussed below, consideration of the relevant Ninth Circuit factors supports the
15   requested fee award in this case.
16                  1.      There is No Rule in the Ninth Circuit that Percentage Awarded Should
17                          Decrease as the Size of the Settlement Increases

18          Stephens contends that a 15% fee award is warranted “based on the size of the settlement fund.”
19   Stephens Obj. at 4. Looking to nothing other than the size of the settlement is at odds with Ninth Circuit
20   precedent, however. The Ninth Circuit has repeatedly emphasized that the size of the settlement fund is
21   one factor among many that courts are to consider when analyzing a fee request. Vizcaino v. Microsoft
22   Corporation, 290 F.3d 1043, 1047 (9th Cir. 2002). The size of the fee award should be based on whether
23   “circumstances indicate that the percentage recovery would be either too small or too large in light of
24   the hours devoted to the case or other relevant factors.” Six (6) Mexican Workers v. Arizona Citrus
25   Growers, 904 F.2d 1301, 1311 (9th Cir. 1990). Relevant factors include: “(1) the result achieved; (2) the
26   risk involved in the litigation; (3) the skill required and quality of work by counsel; (4) the contingent
27   nature of the fee; and (5) awards made in similar cases.” Larsen v. Trader Joe’s Co., 2014 WL 3404531,
28   at *9 (N.D. Cal. July 11, 2014) (citing Vizcaino, 290 F.3d at 1048-50). This multifactored approach is
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 1   necessary to prevent arbitrary fee awards that are either too high or too low.
 2                          a)      A Formulaic Fee Analysis is Contrary to Ninth Circuit Precedent
 3          Stephens does not mention or engage with the relevant factors or Class Counsel’s discussion of
 4   them. Instead, he asks this Court to ignore decades of Ninth Circuit law and employ what Stephens
 5   describes as the “better approach”: basing the fee award on academic surveys of what happened in other
 6   cases. Stephens Obj. at 5-7.9 Stephens bases his proposed 15% fee award on what he describes as
 7   “empirical evidence and circuit practice” regarding awards in other cases, rather than the facts of this
 8   case. Stephens Obj. at 8.
 9          The Ninth Circuit has cautioned against the formulaic approach Stephens advocates for, because
10   “courts cannot rationally apply any particular percentage—whether 13.6 percent, 25 percent or any other
11   number—in the abstract, without reference to all the circumstances of the case.” In re Wash. Pub. Power
12   Supply Sys. Sec. Litig., 19 F.3d 1291, 1298 (9th Cir. 1994). To be sure, a district court “must refer” to
13   the size of the fund, but the Ninth Circuit has declined to “adopt a bright-line rule requiring the use of
14   sliding-scale fee awards for class counsel in megafund cases” that dictates a downward adjustment as
15   the settlement size increases. In re Optical Disk Drive Prods. Antitrust Litig., 959 F.3d 922, 933 (9th
16   Cir. 2020); see also Toyota, 2013 WL 12327929, at *34 (“no rule in the Ninth Circuit [] requires a court
17   to decrease the percentage of the fee award as the size of the settlement increases”) (citing Vizcaino, 290
18   F.3d at 1047). Stephens’ argument for a “strong presumption against the benchmark, in favor of
19   downward departure” (Stephens Obj. at 7) ignores controlling Ninth Circuit authority and “flies in the
20   face” of a court’s obligation to “consider[] all the circumstances of the case and reach[] a reasonable
21   percentage.” Vizcaino, 290 F.3d at 1048. The Court should decline Stephens’ invitation to disregard
22   Ninth Circuit precedent.
23          Stephens argues that larger settlements do not always require more work than smaller ones.
24   Stephens Obj. at 4. Whatever the validity of that principle as a general matter, it is inapposite here. As
25   discussed below, overcoming the risks inherent in this case took both significant work and creative
26
     9
27    Although Stephens argues that a district court’s assessment of the appropriate fee is nondelegable
     (Stephens Obj. at 10, 17), at the same time, he suggests that courts should simply apply the results of
28   academic surveys.
                                              16
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 1   lawyering. Numerous strategic decisions by Class Counsel paved the way for successful oppositions to
 2   dispositive motions, claims against the Released Parties, a nationwide claim with joint and several
 3   liability, and certification of multiple classes even though certification had been almost universally
 4   denied in tobacco products litigation. See Section III.A.2.a. These successes, combined with the factual
 5   and expert evidence developed by Class Counsel, created the litigation value that ultimately drove the
 6   JLI Settlement. If the size of the class alone determined the settlement amount, then this case would
 7   have resolved years ago. Instead, it took years of litigation to reach settlement as the parties were
 8   preparing for trial.
 9                          b)      Surveys Averages Are Not Instructive in this Case
10           The averages reflected in the surveys Stephens relies on reveal nothing about the facts and
11   circumstances in this case. The “empirical evidence” Stephens relies on does not, for example, provide
12   information about whether cases assessed had certified classes, dealt with potentially dispositive
13   preemption issues, involved defendants in precarious financial straits, required unique legal theories, or
14   other key considerations that may inform the reasonableness of a fee award in a particular case.
15           While Stephens cites a small handful of cases that have found surveys informative, courts have
16   rejected surveys in favor of a case specific approach. See, e.g., In re: Cathode Ray Tube (CRT) Antitrust
17   Litig., 2016 WL 721680, at *43 (N.D. Cal. Jan. 28, 2016) (noting existence of surveys but
18   recommending upward adjustment from the benchmark to 30% of $173 million settlement), report and
19   recommendation adopted in part, In re: Cathode Ray Tube (CRT) Antitrust Litig., 2016 WL 4126533, at
20   *6 (N.D. Cal. Aug. 3, 2016) (awarding 27.5% fee); Rodman v. Safeway Inc., 2018 WL 4030558, at *5-6
21   (N.D. Cal. Aug. 22, 2018) (cited by Stephens, the court examined the same surveys Stephens offers here
22   and awarded fees totaling 28% of the recovery); see also Heekin v. Anthem, Inc., 2012 WL 5878032, at
23   *2 (S.D. Ind. Nov. 20, 2012) (acknowledging surveys but noting that they “do not replace the analysis”
24   for determining a reasonable fee); Hale v. State Farm Mut. Auto. Ins. Co., 2018 WL 6606079, at *11
25   (S.D. Ill. Dec. 16, 2018) (similar).
26           The authors of one survey that Stephens cites underscored the need to consider the circumstances
27   of each case, finding in a different study that a 33% fee is reasonable in contingent cases that proceed to
28   trial. See In re: Urethane Antitrust Litig., 2016 WL 4060156, at *5 & n.5 (D. Kan. July 29, 2016) (citing
                                            17
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 1   Theodore Eisenberg and Geoffrey Miller, Attorney Fees in Class Action Settlements: An Empirical
 2   Study, 1 J. Empirical L. Stud. 27, 35 (2004), and awarding one-third of $835 million settlement); see
 3   also In re Syngenta AG MIR 162 Corn Litig., 357 F. Supp. 3d 1094, 1115 n. 11 (D. Kan. 2018) (noting
 4   that the author of a different study Stephens cites, Professor Brian Fitzpatrick, stated in a declaration in
 5   the Deepwater Horizon case that “that he (like many courts and commentators) ‘do[es] not endorse this
 6   bigger-settlement-smaller-fee approach because it creates bad incentives for class counsel.’”) (alteration
 7   in original). Stephens argues that courts “rely on [] empirical surveys as a matter of course.” Stephens
 8   Obj. at 7. But in none of the cases Stephens cites did the court mechanically apply survey results without
 9   analysis of whether the award was appropriate given the circumstances of the case.10
10                          c)      The Cases Class Counsel Cite Confirm the Reasonableness of the
11                                  Requested Fee Award

12           Stephens argues that Class Counsel’s fee request is based on the “cherry picked” cases that Class
13   Counsel cites. Stephens Obj. at 5. The cases Class Counsel cites are not “outliers,” however, as even in
14   the context of large settlements, courts have “routinely awarded class counsel fees in excess of the 25%
15   ‘benchmark.’” In re Nat’l Collegiate Athletic Ass’n Athletic Grant-in-Aid Cap Antitrust Litig., 2017 WL
16   6040065, at *5 & n.30 (N.D. Cal. Dec. 6, 2017), aff’d, 768 F. App’x 651 (9th Cir. 2019); see also In re
17   Lidoderm Antitrust Litig., 2018 WL 4620695, at *2-4 (N.D. Cal. Sept. 20, 2018) (fee award of 33.3% of
18   $104.75 million settlement); Benson v. DoubleDown Interactive, LLC, 2023 WL 3761929, at *3 (W.D.
19   Wash. June 1, 2023) (awarding 29.3% fee on a $415 million settlement fund); In re TFT-LCD (Flat
20
     10
21      See In re Yahoo! Inc. Customer Data Security Breach Litig., 2020 WL 4212811, at *37-38 (N.D. Cal.
     July 22, 2020) (court principally applied the lodestar method, and discussed the “circumstances” of the
22   case when performing a percentage-of-recovery crosscheck); In re High-Tech Employee Antitrust Litig.,
     2015 WL 5158730, at *9-11 (N.D. Cal. Sept. 2, 2015) (principally applying the lodestar method, and
23
     awarding a 2.2 multiplier); Alexander v. FedEx Ground Package System, Inc., 2016 WL 3351017, at *2-
24   3 (N.D. Cal. June 15, 2016) (applying the lodestar method and reducing the fee award to a 3.0 multiplier
     after finding that circumstances did not warrant a 4.0 multiplier); In re Wells Fargo & Co. Shareholder
25   Derivative Litig., 445 F. Supp. 3d 508, 526 (N.D. Cal. 2020) (holding that the “studies’ ‘data does not
26   replace the 25 percent benchmark, nor does it negate the positive factors assessed above’”) (quoting
     Rodman v. Safeway Inc., 2018 WL 4030558, at *5 (N.D. Cal. Aug. 22, 2018)); Nitsch v. DreamWorks
27   Animation SKG Inc., 2017 WL 2423161, at *10-12 (N.D. Cal. June 5, 2017) (applying the lodestar
     method and, with respect the percentage crosscheck, finding that the “‘economies of scale’ effect is
28   especially relevant in the instant case” based on the specific facts of the case).
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 1   Panel) Antitrust Litig., 2011 WL 7575003, at *1 (N.D. Cal. Dec. 27, 2011) (approving 30% fee award of
 2   $405 million settlement). And more to the point, the cases Class Counsel cite don’t provide the basis for
 3   the requested award; instead, the fee request here is based on the relevant Ninth Circuit factors as
 4   applied to this case: the results achieved, the significant litigation risks undertaken, the skill and quality
 5   of work performed by counsel, and the contingent nature of the work performed. Fee and Expense Mot.
 6   at 7-11. Only one paragraph in the Fee and Expense Motion discusses cases involving fee awards in
 7   excess of 25%, and the point of that paragraph is to emphasize that a 30% award is “within the range of
 8   awards in similar cases” (Fee and Expense Mot. at 11)—an assertion that Stephens does not contest.
 9          The arbitrariness and dangers of Stephens’ approach are obvious. He conducts no analysis of
10   whether the requested fee award would result in a windfall in this case. While some “megafund” cases
11   in this Circuit have resulted in fee awards below the 25% benchmark, those cases frequently involved
12   substantial lodestar multipliers. It was courts’ desire to avoid an even higher multiplier—not reliance on
13   surveys or a wholesale rejection of the 25% benchmark in megafund cases—that drove the results in
14   those matters. Stephens repeatedly cites, for example, In re Facebook Biometric Information Privacy
15   Litigation. 522 F. Supp. 3d 617 (N.D. Cal. 2021). But in Facebook, a 25% fee award would have
16   resulted in a 5.3 multiplier. Id. at 633. The court entered an order awarding fees at a multiplier of 4.71.
17   As discussed below, any calculation of counsel’s lodestar in this case leads to a multiplier significantly
18   less than 4.71.
19          Adoption of Stephens’ approach will also lead to untenable results: courts would award the
20   “average” fee percentage regardless of whether the circumstances warranted a different outcome. Class
21   counsel could receive an unreasonable award based on the work performed to achieve the result in a
22   particular case. This Court’s decision in Lidoderm provides an illustrative example. There the recovery
23   was $104.75 million, and the Court awarded $34.9 million in fees, which was one-third of the settlement
24   fund and a 1.37 multiplier. 2018 WL 4620695, at *1-2. Had the Court arbitrarily held that a 15% fee was
25   appropriate based on Stephens’ rationale, the fee award would have represented a .62 negative
26   multiplier, a manifestly unjust result given the recovery and complexity of that matter.
27          The Court should reject Stephens’ invitation to depart from well-settled Ninth Circuit law and
28   arbitrarily set fees in this matter based on average awards in other cases. It should instead be guided by
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 1   the specific considerations of this case, as dictated by Ninth Circuit precedent. Stephens’ objection
 2   provides “no availing reason why the Court should reduce attorneys’ fees in this action” and the Court
 3   should “therefore reject[] as entirely unreasonable [the] dogmatic objection to counsel’s fee award in
 4   this action.” City of Livonia Employees' Ret. Sys. v. Wyeth, 2013 WL 4399015, at *5 (S.D.N.Y. Aug. 7,
 5   2013) (emphasis in original).
 6
                    2.      Stephens’ Contention That This Litigation Was Low-Risk and Based on
 7                          Government Investigations Is Counter-Factual

 8          Stephens argues that counsel faced no risk due to government investigations and litigation. He
 9   ignores the unique risks this case posed, as well as the challenges inherent to the class claims—none of
10   which were or could have been alleviated by government enforcement actions.
11                          a)       Class Counsel Overcame Significant Risks
12          The Initiation of the Lawsuit: According to Stephens, JLI was a well-funded corporation and
13   plaintiffs’ counsel, seeing an obvious payday, piled on with lawsuits. Stephens Obj. at 19-20. The truth
14   is that JLI was a startup company whose long-term financial condition was uncertain, and whose
15   financial viability relied on contributions from its key investors and a desire to seek future investments
16   from a large tobacco company. By the time MDL leadership had been appointed in late 2019, JUUL’s
17   popularity had peaked and JLI’s financial prospects had deteriorated significantly against headwinds of
18   lawsuits, subpoenas, investigations, and public outcry. Sharp Reply Decl., ¶ 21 & Ex. 2 (citing NYT,
19   How Juul Hooked a Generation in Nicotine). Of Altria’s $12.8 billion investment in JLI in late 2018,
20   less than $200 million was retained by the company, with the vast majority of the Altria money having
21   been paid out to stakeholders and employees. Sharp Decl., ¶ 14. JLI’s fate rested in large part in the
22   FDA’s hands. Sharp Reply Decl., ¶ 22. These facts were known when Class Counsel committed to this
23   risky case. Id. That risk came to fruition: the FDA’s denial of JUUL’s PMTA in late June 2022 meant
24   bankruptcy was widely anticipated. Id. By July 2022, having already recorded a series of write-downs
25   on its initial investment, Altria further wrote its investment in JLI down to a mere $450 million, which
26   was below the threshold for Altria to exit a noncompete agreement and invest in other ENDS products.
27   Id. The consequences for JLI—teetering at the edge of bankruptcy as it was—could have been
28   devastating.
                                            20
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 1           That a number of law firms sought leadership positions in the case is no reason to conclude that
 2   the litigation was riskless either. Stephens Obj. at 20, 24. Stephens relies heavily on the In re Anthem,
 3   Inc. Data Breach Litigation, where the court noted that while many firms sought leadership
 4   appointments, “the risks attendant to maintaining [the] litigation weigh in favor of granting Class
 5   Counsel’s request for a fee award of more than 25%.” 2018 WL 3960068, at *13 (N.D. Cal. Aug. 17,
 6   2018). In general, many class cases draw leadership applications from a wide variety of counsel. At the
 7   same time, many of those cases turn out poorly—the class is not certified or loses on the merits. The
 8   assumption that a large number of applications means no risk does not reflect the reality of contingent
 9   litigation.
10           Nationwide RICO Claim: The reality of JLI’s financial condition made it crucial to establish,
11   maintain, and certify claims against the Directors. Plaintiffs alleged that it was they who controlled JLI,
12   and they who took most of Altria’s money out of the company. Those claims were difficult: as this
13   Court’s motion to dismiss opinions recognized, suing a company’s managers is not the norm, and
14   requires difficult showings of personal involvement and active control. Those claims gave the Class
15   significant leverage it would not otherwise have. Sharp Reply Decl., ¶ 23. As important, it made
16   bankruptcy a less palatable option because such a move would have left the Directors at risk of (1) their
17   own liability remaining after insolvency proceedings ended or (2) their payments from Altria being
18   clawed back. Id. Maintaining the case against the Directors required developing legal theories and
19   causes of action that could be asserted against them. Id. Class Plaintiffs’ claim under the Racketeer
20   Influenced and Corrupt Organizations Act (“RICO”) (18 U.S.C. § 1962) not only provided a claim for
21   joint and several liability against the Directors, it also allowed Class Plaintiffs to assert a nationwide
22   claim instead of relying on a series of state-specific bellwethers. Id. The presence of this nationwide
23   claim created exponentially higher risks for the Directors at trial. Id.
24           Framing a RICO claim was difficult, and there was a substantial risk it would not survive. The
25   Ninth Circuit applies a heightened standard of review for RICO allegations. See Wagh v. Metris Direct,
26   Inc., 348 F.3d 1102, 1108 (9th Cir. 2003) quoting Figueroa Ruiz v. Alegria, 896 F.2d 645, 650 (1st Cir.
27   1990) (explaining courts should “‘strive to flush out frivolous RICO allegations at an early stage of the
28   litigation’” given the “consequent ‘stigmatizing effect on those named as defendants’”), overruled on
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 1   other grounds, Odom v. Microsoft Corp., 486 F.3d 541, 551 (9th Cir. 2007). The Court initially
 2   dismissed Class Plaintiffs’ RICO claims against all Defendants. Dkt. 1084. One month later, Class
 3   Plaintiffs filed an amended complaint, recasting their RICO claims and adding allegations regarding the
 4   conduct of Altria and the individual Defendants. Dkt 1135. After a second round of motion to dismiss
 5   briefing, the Court upheld the claims, stating: “Plaintiffs assert a plausible theory to maintain their RICO
 6   claims against Altria and the Founder and Director Defendants.” Dkt. 1694 at 1. The Court warned that
 7   the viability of Plaintiffs’ RICO enterprise theory, as well as whether the RICO Defendants were
 8   pursuing enterprise goals outside of JLI’s ordinary course of business, could be revisited at summary
 9   judgment. Id. at 13.
10           It bears emphasis: if Stephens’ narrative of a corporate defendant flush with cash and eager to
11   settle was accurate, then there was no point to the RICO claim that dominated this litigation. JLI was not
12   even named in the RICO claim that survived the motion to dismiss. The reason the parties and the Court
13   dedicated such resources to that claim was the crucial importance of the claims against the Directors and
14   Altria. Stephens does not acknowledge those claims, let alone explain how they are consistent with his
15
     portrayal of this litigation as low-risk.
16
             Class Certification: As detailed in the Fee and Expense Motion, class certification has been
17
     almost universally denied in cases asserting claims involving tobacco products, leading Defendants to
18
     argue “that no class of purchasers of nicotine or other addictive products could ever be certified.” In re
19
     JUUL Labs, Inc. Mkt’g, Sales Pracs., and Prods. Liab. Litig., 609 F. Supp. 3d 942, 969 (N.D. Cal.
20
     2022). This trend of class certification denials was so well-known that Class Counsel recognized the
21
     need to proactively address it. See Dkt. 1772-2 at 42-45 (Class Certification Motion) (citing cases that
22
     have denied class certification, e.g., McLaughlin v. Am. Tobacco Co., 522 F.3d 215 (2d Cir. 2008); In re
23
     NJOY, Inc. Consumer Class Action Litig., 120 F. Supp. 3d 1050 (C.D. Cal. 2015); Phillips v. Philip
24
     Morris Companies, Inc., 298 F.R.D. 355 (N.D. Ohio 2014); In re Light Cigarettes Mkt’g Sales Pracs.
25
     Litig., 271 F.R.D. 402 (D. Me. 2010); Cleary v. Philip Morris USA, Inc., 265 F.R.D. 289 (N.D. Ill.
26
     2010)). Certifying RICO claims also presents significant challenges: as McLaughin on Class Actions
27
     recognizes, “[d]espite the ease with which commonality is satisfied in most RICO actions, individual
28
     issues of elements such as reliance, causation and proof of damages frequently predominate in putative
                                                         22
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 1   RICO class actions and prevent certification.” 1 McLaughlin on Class Actions § 4:13 (19th ed.); see also
 2   In re Countrywide Fin. Corp. Mortg. Mktg. & Sales Pracs. Litig., 277 F.R.D. 586, 609 (S.D. Cal. 2011)
 3   (denying motion to certify nationwide RICO claims because individual issues predominated regarding
 4   racketeering activity element). The Court certified other claims that typically do not survive, or are not
 5   even asserted, in other cases: application of a conjoint model to non-labeling claims and a full refund
 6   model of damages for youth purchasers. At class certification, nationwide damages stemming from the
 7   conjoint model exceeded $1 billion and the full refund youth damages were several hundred million in
 8   additional potential damages. And underscoring the challenges and risks of obtaining certification, the
 9   Ninth Circuit granted Defendants’ Rule 23(f) petitions, which often leads to the reversal of the
10   underlying certification decision. See Sharp Decl., Ex. 2 (Klonoff Decl.) at 21-22 (discussing Rule 23(f)
11   appeal reversal rates).
12          Class certification in this case, therefore, did not happen on its own. As the Court recognized, the
13   “legal theories” and “expert support provided by plaintiffs that was missing in [other tobacco
14   litigations]” led the Court to certify the classes (Dkt. 3327 at 18) and a favorable resolution. In
15   particular, Class Counsel presented credible experts opinions on classwide exposure to products
16   marketed through social media (Professor Chandler), the consistency of marketing messages (Dr.
17   Pratkanis), and the common nature of abuse liability (Dr. Shihadeh). Class Counsel is aware of no other
18   case with similar experts, and these novel approaches were key to overcoming the previously
19   insurmountable risks at class certification. Stephens ignores both the class certification risks and Class
20   Counsel’s efforts to overcome them. The risks materialized in other cases, such as ones relied on by the
21   Court in its class certification order. See Freitas v. Cricket Wireless, LLC, 2022 WL 3018061 (N.D. Cal.
22   July 29, 2022) (decertifying class); Earl v. Bowing Co., 53 F. 4th 897 (5th Cir. 2022) (same). And of
23   course, these risks were faced solely by the class action, and not by any government enforcement action.
24          Tobacco Litigation: Aside from the certification challenges, litigation against the tobacco
25   industry is notoriously hard-fought, and this case was no different. See generally United States v. Philip
26   Morris, Inc., 449 F. Supp. 2d 1, 28 (D.D.C. 2006) (discussing history); In re Tobacco II, 240 Cal. App.
27   4th 779, 785-87 (2015) (after eighteen years of litigation, denying restitution from Philip Morris due to
28   lack of competent economic evidence, despite tobacco company’s advertising violations of UCL and
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 1   FAL); Kurzweil v. Philip Morris Cos., 1999 WL 1076105, at *1-2 (S.D.N.Y. Nov. 30, 1999)) (because
 2   tobacco cases are so aggressively defended and plaintiffs’ success rate is so low, the risk factor
 3   supported a 30% fee award of $123 million settlement). The defendants here have been represented by
 4   some of the most successful firms and lawyers in the country that specialize in tobacco litigation:
 5   Kirkland & Ellis LLP; Munger, Tolles & Olson LLP; Arnold & Porter Kaye Scholer LLP; Wilkinson
 6   Stekloff LLP; Kellogg, Hansen, Todd, Figel & Frederick PLLC; Orrick Herrington & Sutcliffe LLP; and
 7   Boersch & Illovsky LLP. Succeeding against such highly-qualified counsel and well-funded defendants
 8   required an enormous investment of time and energy by Class Counsel. See In re Broiler Chicken
 9   Antitrust Litig., 2022 WL 6124787, at *3 (N.D. Ill. Oct. 7, 2022) (granting 33% fee award in part
10   because “Plaintiffs have been opposed by many defendants, including a number of very large and well-
11   funded corporations, which have retained some of the most prominent and sophisticated law firms in the
12   United States”).
13
                            b)      Government Investigations and Litigation Did Not Decrease the Risk
14                                  to Class Counsel; if Anything, They Increased It

15          Stephens also asserts that this was “relatively low-risk litigation” in large part because it
16   purportedly “substantially benefitted from parallel government investigations.” Stephens Obj. at 1, 7.
17   This superficial account relies on federal policy statements on youth e-cigarette use generally, an FDA
18   letter requesting information from JLI, and various state attorney general actions to somehow make the
19   $255 million class settlement an inevitable outcome. According to Stephens, years of adversarial
20   litigation (at astonishing expense to both sides) were largely a pretext to eventually justify a fee.
21          Class Counsel in this case cannot “be cast as jackals to the government’s lion, arriving on the
22   scene after some enforcement or administrative agency has made the kill.” In re Gulf Oil/Cities Serv.
23   Tender Offer Litig., 142 F.R.D. 588, 597 (S.D.N.Y. 1992) (awarding 30% as “eminently reasonable”).
24   The record and the facts in this litigation, unlike Stephens’ assumptions, confirm that Class Counsel “did
25   all the work on their own.” Id; see also In re: Volkswagen “Clean Diesel” Mkt., Sales Prac., & Prods.
26   Liab. Litig., 2017 WL 1474312, at *4 (N.D. Cal. Apr. 24, 2017) (rejecting similar argument even where,
27   unlike here, government agencies litigated the case in tandem with private counsel and the settlement
28   was tied to multiple consent decrees). Cf. In re Petrobras Sec. Litig., 317 F. Supp. 3d 858, 876-77
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 1   (S.D.N.Y. 2018) (awarding 1.78 multiplier on lodestar-based fees due to “risk of non-recovery” even
 2   where “much of the work that might otherwise have been required of plaintiffs’ counsel had already
 3   been done, and done in a way that enhanced plaintiffs’ bargaining position.”).
 4                                  i.      The FDA’s Actions Increased Litigation Risk
 5           The FDA’s ongoing regulation of JUUL made Class Counsel’s job more risky, not less. The
 6   FDA’s policy of deferred enforcement of the PMTA requirement meant that, at any time, the FDA could
 7   have ordered JUUL products off the market, as the FDA threatened to do. See Statement from FDA
 8   Commissioner Scott Gottlieb, M.D., on New Steps to Address Epidemic of Youth E-Cigarette Use
 9   (Sept. 11, 218) (threatening to “revisit the FDA’s exercise of enforcement discretion for products
10   currently on the market”).11 Such FDA action would have forced JLI into bankruptcy, threatening little
11   or no return to the Class, and to Class Counsel.
12           What the FDA did do created risk too. FDA enforcement policy and the PMTA process were the
13   bases for a motion to stay this litigation indefinitely on the grounds of primary jurisdiction (a stay that, if
14   granted, would still be in place today). See Dkt. 1084 at 10-17 (denying stay). Even more significant, the
15   FDA’s exercise of regulatory authority over ENDs supported a colorable motion to dismiss all of the
16   Class claims as preempted. See id. at 18-33. While Class Counsel defeated that motion in significant
17   part, preemption cast a pall through certification and would have continued to pose risks at summary
18   judgment and trial. Most obviously, the Court repeatedly emphasized that its ruling would be revisited if
19   and when the FDA issued a determination on JLI’s PMTAs. Id. at 15. The potential for greater, or even
20   complete, preemption of the Class claims was always present—from inception onward.
21           Moreover, the Court’s determination that “labelling claims based on nicotine addiction are
22   preempted,” id. at 25, exempted from liability the most potent and regularly certified form of false
23   advertising: crucial omissions via the medium guaranteed to reach consumers. See Hadley v. Kellogg
24   Sales Co., 324 F. Supp. 3d 1084, 1099 (N.D. Cal. 2018) (explaining that class certification is easier in
25   labelling cases because “[e]xposure to statements displayed on the outside of a product’s packaging is
26   clearly more likely”). No doubt, at summary judgment and trial Defendants would have argued both that
27
     11
       Available at https://www.fda.gov/news-events/press-announcements/statement-fda-commissioner-
28   scott-gottlieb-md-new-steps-address-epidemic-youth-e-cigarette-use
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 1   (1) the addiction warning made any advertising misrepresentations immaterial and (2) that preemption
 2   principles precluded false advertising claims that required the jury to evaluate the effectiveness of the
 3   federal warning. See Critcher v. L’Oreal USA, Inc., 959 F.3d 31, 36 (2d Cir. 2020) (finding claims
 4   preempted where their premise was that “compliance with” the federal warning “has the effect of
 5   making the packaging misleading”). In the SFUSD trial, Altria maintained credible arguments based on
 6   the Court’s preemption order through the motion in limine stage, see Dkt. 3901 at 2; no doubt all
 7   Defendants would have done the same in the Class trial.
 8                                  ii.     The Class Case Was Not Based on FDA Findings
 9           Stephens’ claim that “[t]he FDA … laid out the essence of Plaintiff’s case before the first class
10   complaint was even filed” is unsupported. Dkt. 4063 at 23 n.14. To start, this argument relies on a
11   September 9, 2019, warning letter that was sent 17 months after the first class complaint was filed.
12   Moreover, this letter concerned whether JUUL was marketed as a modified risk tobacco product, i.e.,
13   whether JUUL products are “safer than cigarettes.” FDA, Warning Letter to Juul Labs, Inc. (Sept. 9,
14   2019).12 The Class claims, by contrast, focused on specific deceptive conduct that had nothing to do
15   with whether JUUL was a modified risk product or the specific affirmative statements that triggered the
16   FDA’s concern.
17           In particular, the Class alleged that JUUL marketing failed to disclose material information
18   concerning the products’ addictiveness and potential for adverse health effects that were material to
19   purchasing decisions. These claims were painstakingly developed through discovery and consultation
20   with industry experts, and not based on FDA letters. Among other things, Class Counsel had to develop
21   a deep understanding of the features of JUUL Products that contribute to their addictiveness and risk of
22   personal injury. Only a portion of the fraud claims involved comparisons of JUUL and cigarettes, and
23   the Court dismissed the most potent of those claims (based on omissions on the product label). Beyond
24   these deceptive marketing claims, Class Plaintiffs also argued that JUUL marketing targeted minors.
25   FDA warning letters therefore did not, and could not, provide a basis for liability. In fact, warning letters
26   like this were relied on by Defendants as a basis to deny class certification, and so, if anything, added
27
     12
        https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations/warning-
28   letters/juul-labs-inc-590950-09092019
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 1   risk to Class Counsel’s efforts. See Dkt. 2309-2 at 17 (citing “government and public scrutiny” and the
 2   “resulting” variation in “risk perception of JUUL Products”) (capitalization omitted); Dkt. 2309-3 at 7-8
 3   (arguing that increasing “regulatory scrutiny” refuted Plaintiffs’ experts common causation opinions).
 4                                  iii.    Class Counsel Did Not Rely on State AGs
 5           Stephens claims that the class litigation rode “in the slipstream” of the state attorney general
 6   investigations and litigation. Stephens Obj. at 1. This is false.
 7           State AG Litigation Trailed the MDL. Colgate was filed in April 2018, and the MDL was
 8   formed on October 2, 2019. By the time the first AG complaint was even filed (California—November
 9   18, 2019), this Court had (1) overseen initial class-wide discovery in Colgate; (2) adjudicated two
10   motions to dismiss in Colgate; (3) ordered an initial MDL census, Dkt. 193; and (4) appointed co-lead
11   counsel, Dkt. 250. Meanwhile, class-wide discovery, which had begun in Colgate, continued in the
12   MDL. Dkt. 291 at 2. The remaining state AG complaints trickled in over the ensuing months and years
13   as lawyers in this MDL conducted comprehensive fact and expert discovery and certified the classes.
14           Stephens opines on one hand that the Court must consider only a myopic view of the risk this
15   litigation posed the day Colgate was filed. Stephens Obj. at 22.13 On the other hand, he urges the Court
16   to find a lack of risk based on state AG complaints filed long after this MDL was in full swing, and
17   years after Colgate initiated the class claims. Id. at 23 (discussing Arizona, New Mexico, Colorado, and
18   Washington complaints).
19           Class Counsel, not AGs, Developed and Litigated this Case. Class Counsel obtained and
20   reviewed their own documents, took their own depositions, retained and presented their own experts,
21   created their own damages models, and certified their own classes. See Sharp Reply Decl., ¶ 3. AGs did
22   none of that work, all of which carried significant risks.14 See id., ¶¶ 3–4. Stephens selects a few
23
     13
       This argument cites Seventh Circuit authority, but, as Stephens does not acknowledge, that Circuit
24
     employs a “market rate” approach to calculating fees that is not the law of the Ninth Circuit. Vizcaino,
25   290 F.3d at 1049. In any event, the excessive focus on a particular date makes no sense: later-in-time
     events (like JLI’s PMTA being denied) can help to determine that ex ante risk was real and significant.
26   14
        This distinguishes this case from Petrobras, 317 F. Supp. 3d at 876-77, where “much of the work that
27   might otherwise have been required of plaintiffs’ counsel had already been done, done in a way that
     enhanced plaintiffs’ bargaining position.” As noted above, Petrobras found a risk multiplier warranted
28   in any event.
                                               27
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 1   paragraphs from an amended complaint to make it look like the key allegations in this case were based
 2   on AG findings. Stephens Obj at 23-24. In reality, the 649-page Consolidated Class Action Complaint
 3   (Dkt. 386-4) was almost entirely based on review of the hundreds of thousands of documents produced
 4   in Colgate and here—as evidenced by the 131 paragraphs and 21 footnotes that required redactions.
 5   Sharp Reply Decl., ¶ 13. In particular, the subsequent amended complaints—which set out the factual
 6   basis for the Director liability that drove resolution—were based on tireless analysis of documents
 7   produced in this litigation, as well as groundbreaking legal theories, not cribbing from anyone else’s
 8   work. See id.
 9          MDL counsel secured a volume of discovery that vastly exceeded the discovery produced to
10   government investigators. Id., ¶ 7. From an early stage in this MDL, Plaintiffs had standing discovery
11   requests for documents produced to government agencies. Id., ¶ 5; see Dkt. 291 at 2; Dkt. 397 at 3-4.
12   But this limited universe was not even close to sufficient to certify the classes and prove liability and
13   damages. Instead, Plaintiffs served (on JLI alone) hundreds of additional requests for production, and
14   served more than 190 third-party subpoenas, spent months negotiating independent sets of search terms,
15   and obtained documents from dozens of additional custodians. Sharp Reply Decl., ¶ 5.
16          In particular, Plaintiffs doggedly pursued custodial discovery that the AGs never did. Id. While
17   JLI maintained a limited list of search terms used for AG/regulator productions, in the MDL Plaintiffs
18   spent months negotiating a sweeping list of hundreds of search terms to ensure comprehensive discovery
19   beyond the limited amount produced in the AG litigations. Id., ¶ 6. The same was true of custodians and
20   sources of information: Plaintiffs negotiated dozens of additional custodians and sources, including
21   crucial Slack messages. Id., ¶ 7; see Dkt. 672 at 8-9 (discussing Slack); Dkt. 904 at 11 (discussing
22   additional custodians); cf. Sharp Reply Decl., ¶ 7 & Ex. 1 (JLI refused to produce complete Slack data to
23   the North Carolina AG even after a motion to compel was granted on April 30, 2021). Due to these
24   efforts, MDL counsel secured critical evidence that AGs did not, or could not, acquire. Plaintiffs, not
25   AGs, for example, secured production of JLI’s PMTA and all communications with the FDA, Dkts.
26   1036, 1999 (granting motions to compel). Each production went well beyond what State AGs were
27   willing or forced to accept. See Dkt. 1022 at 6 (JLI arguing for significantly reduced productions on the
28   basis that “two State Attorneys General[] agree that [JLI’s proposed] compromises [avoid] infringing on
                                            28
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 1   JLI’s ongoing PMTA-related work or invading the FDA’s exclusive authority over the standards for
 2   marketing and labeling of JUUL products.”).
 3          The scope of depositions in this case likewise went far beyond what any AG did. Consider
 4   Minnesota v. Juul Labs, Inc., No. 19-19888 (Minn. Distr. Ct.), the only AG action to go to trial. In that
 5   trial, the AG presented testimony from five defense witnesses—Murray Garnick, Nicholas Pritzker,
 6   Christopher Olin, Adam Bowen, and James Monsees. Sharp Reply Decl., ¶ 10. All of those witnesses
 7   testified at the Minnesota trial via depositions taken in the MDL. Id. By contrast, of the 16 witnesses
 8   whose video depositions were played during the SFUSD trial against Altria (which required a prove-up
 9   of the same RICO conspiracy at issue in the Class case), every single deposition was taken in the MDL.
10   Id., ¶ 9. And the North Carolina AG, whose case settled on the eve of trial, deposed only one of those
11   witnesses in its own case. Id. The bigger picture: Plaintiffs—through years of disciplined, hard, effective
12   work—secured the discovery they needed from defendants; Plaintiffs did not (and could not have) rested
13   on their laurels, waiting for the AGs to do their work for them. The North Carolina AG, for example,
14   claimed that JLI ignored orders granting motions to compel, failed to respond to certain discovery
15   requests and then, shortly before trial, produced millions of documents, “much of which [were] almost
16   assuredly non-responsive,” placing on the government litigators “the Herculean task of reviewing these
17   three million documents four weeks before trial.” Id., ¶ 7 & Ex. 1. None of that happened here because
18   Class Counsel were persistent in pursuing discovery and presenting disputes to Judge Corley. As a
19   result, for example, Plaintiffs secured production of nearly 1,000,000 pages of additional documents
20   (including the FDA communications) after the North Carolina AG case had concluded. Id.
21          The MDL Was Solely Responsible for the Crucial Litigation Against the Directors. It was
22   Class Counsel, not AGs, who established and successfully prosecuted the novel Director claims that, as
23   discussed above, gave the Class its settlement leverage. This is no knock on the AGs: their mission is
24   enforcement and deterrence and so, for most, JLI was the primary target. But Class Counsel had a duty
25   to secure compensation for the Class; to do that, they had to go far beyond what any AG did.
26          Apart from one terse personal injury complaint in the JCCP, the first complaints in the country to
27   name a Director as a Defendant were the Class and other master complaints filed in this case in early
28   2020. The few AGs that later sued the Directors did so only in the wake of this MDL establishing the
                                            29
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 1   factual bases for individual liability. For example, North Carolina (one of the most aggressive JUUL AG
 2   litigants) did not sue the Directors until November 16, 2021, and then did so almost entirely the MDL
 3   complaints. Sharp Reply Decl., ¶ 16.15 Other AGs failed where Class Counsel succeeded. See State ex
 4   rel. Weiser v. Juul Labs, Inc., 517 P.3d 683, 695 (Col. 2022) (dismissing claims against Directors and
 5   rejecting this Court’s reasoning); People ex rel. James v. Juul Labs., Inc., 2022 WL 2757512, at *3-6
 6   (N.Y. Sup. Ct. July 14, 2022) (same); People v. JUUL Labs, Inc., No. RG19043543 (Cal. Super Ct. Oct.
 7   19, 2022) (filed at Doc. 3631-1) (same, as to Dr. Huh). Yet another AG did keep alive claims against the
 8   Directors—but that AG was represented by MDL co-lead counsel, who relied on the MDL work product
 9   in drafting the complaint and prosecuting the litigation. Hawai’i v. Juul Labs, Inc., No. 20-933 (Haw.
10   Cir. Ct. May 10, 2021).
11           The unique focus on the Directors—essential to the Class case; more of a footnote for the AGs—
12   was reflected in discovery. Plaintiffs obtained document productions from Mr. Pritzker, Mr. Valani, and
13   Dr. Huh; as far as Class Counsel is aware, Plaintiffs were the first, and possibly the only, litigants to do
14   so. Sharp Reply Decl., ¶ 15. In all events, the documents Plaintiffs obtained were the result of their own
15   requests for productions and their own search terms; not requests by the AGs. See Id. ¶ 14–15. Plaintiffs
16   deposed key witnesses who—it appears—were never before questioned by AGs, such as K.C.
17   Crosthwaite, Mr. Pritzker, and Mr. Valani, all of whose testimony was crucial for the RICO case. Id.
18   ¶ 17. In fact, it was only by analyzing Mr. Pritzker’s documents that Plaintiffs became aware that his
19   son-in-law, Christopher Olin, was a relevant witness. Id. ¶ 15. Mr. Olin’s testimony was crucial in the
20   SFUSD trial to establish Mr. Pritzker’s intent, rebut Mr. Pritzker’s self-serving narrative, and support the
21   allegations of a RICO conspiracy. Id.. Class Counsel tracked down former employee Scott Dunlap in
22   Austria and then secured—over Mr. Dunlap’s objection—an order authorizing alternative service under
23   the Walsh Act. Id. ¶ 18. Mr. Dunlap’s testimony was crucial in establishing both the personal role the
24
25
     15
26     The North Carolina complaint copies, almost verbatim, the allegations describing the parties in the
     Second Amended Consolidated Class Action Complaint (“SACAC”), uses many of the same images
27   regarding the Directors (e.g., the same org charts), many of the same quotes from the same sources, and
     generally relies heavily on the MDL for both historical tobacco industry material and, more important,
28   the crucial evidence about the role and involvement of the Directors. Sharp Reply Decl., ¶ 16.
                                               30
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 1   Directors played in JLI’s activities. Id. Class Counsel are not aware of any AG (or anyone else, for that
 2   matter) who deposed Messrs. Olin and Dunlap. Id. ¶¶ 15, 18.
 3                                  iv.     Government Lawyers Did Not Create the Benefit to the Class
 4           The claim that the FDA and AG actions were in any way “responsible for creation of [the] fund”
 5   is simply not supported by the record. Stephens Obj. at 20. No government regulator secured
 6   compensation for the Class. This is not a case where Class Counsel seek compensation for “the benefits
 7   created by public agencies.” Id. (quoting In re Prudential Ins. Co. Am. Sales Prac. Litig. Agent Actions,
 8   148 F.3d 283, 337 (3d Cir. 1998)). Prudential, cited by Stephens, stands in perfect contrast to this case.
 9   There, the class plaintiffs sought credit for (and fees in proportion to) a settlement reached between a
10   multi-state insurance regulator task force and the insurer defendant. Id. at 290-91. On appeal, the court
11   was understandably skeptical of the class plaintiffs’ claim that they had served as a “catalyst” of the
12   entire government program. Id. at 336-37. In fact, the “evidence . . . suggest[ed] that, absent the
13   institution of the class action proceedings,” the government settlement would have happened anyway.
14   Id. at 337.16
15           Here, there is no colorable claim, let alone evidence, that the result for the Class is traceable to
16   anything but Class Counsel’s efforts. Stephens recounts media speculation (from early 2020, well after
17   this litigation began) that JLI would face settlement pressure from AG investigations. Stephens Obj. at
18   23. But that same article emphasized what such a settlement could look like: JLI would “change its
19   marketing practices.” Id. (quoting Collins & Perrone article). But changing JLI’s marketing practices did
20
21   16
        Wininger v. SI Mgmt L.P., 301 F.3d 1115 (9th Cir. 2002), is a variation on same theme, albeit with
22   unusual facts. There, class counsel successfully sued to block the dissolution of a partnership, later
     entered into a class settlement permitting a dissolution, and then sought fees based on the increase in
23   value of limited partners’ shares as between the blocked plan and the settlement plan. Id. at 1118. The
     court found that much of the increase in value was caused not by the litigation but by the independent
24
     increase in value of the company, and so there was no true “quantifiable” fund against which to award a
25   percentage fee. Id. at 1123-25. The court accordingly remanded to apply the lodestar method. Id. at
     1127. Stephens also cites In re Johnson & Johnson Derivative Litig., 2013 WL 6163858 (D.N.J. Nov.
26   25, 2013), but that case is distinguishable. See id. at *11 (explaining that “federal … investigations had
     progressed substantially at the time of the filing, … there was no groundbreaking issue[, the defendant]
27
     is solvent, and the individual directors and officers were the beneficiaries of an insurance policy”).
28
                                               31
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 1   not provide compensation to anybody (as noted above, those changes were used as arguments against
 2   class certification); only this class litigation did that. See Volkswagen, 2017 WL 1474312, at *4
 3   (rejecting a similar argument, and noting that government enforcement did not compensate consumers).
 4           Stephens relies on a law review article for the proposition that a risk enhancement is not justified
 5   when government litigation precedes or parallels class litigation. Stephens Obj. at 20-21. But the article
 6   is premised on two examples that—for opposite reasons—disprove Stephens’ point. The first is the
 7   Microsoft litigation. Howard M. Erichson, Coattail Class Actions: Reflections on Microsoft, Tobacco,
 8   and the Mixing of Public and Private Lawyering in Mass Litigation, 34 U.C. Davis L. Rev. 1, 7 (2000).
 9   There, a wave of class litigation came only after complete “findings of fact” in the government’s case
10   established liability. Id. Any comparison between this litigation and that case is baseless. The second
11   example is the state tobacco litigation. Id. at 9-13. Those proceedings illustrate how, even when (unlike
12   here) government litigation generates game-changing “discovery and momentum,” private litigation can
13   remain risky business. Id. See Section III.A.2.a, supra (discussing failed tobacco products class
14   actions).17
15
                    3.      Fees are Appropriately Calculated Based on the Gross Settlement Fund, Not
16                          the Net Fund

17           As noted above, the Ninth Circuit directs courts to award reasonable attorneys’ fees based on the
18   unique circumstances of the case. Powers v. Eichen, 229 F.3d 1249, 1258 (9th Cir. 2000). A reasonable
19   fee can be based on a percentage of the gross or net settlement fund because “the reasonableness of
20   attorneys’ fees is not measured by the choice of the denominator.” Id. Thus, “the district court may
21   calculate the fee award using the gross settlement amount.” Id. The Ninth Circuit and this Court have
22   repeatedly approved fee requests based on the gross fund, if the resulting fee is reasonable. E.g., In re
23   Online DVD-Rental Antitrust Litig., 779 F.3d 934, 953 (9th Cir. 2015); Krommenhock v. Post Foods,
24   2021 WL 2910205, at *2 (N.D. Cal. June 25, 2021) (approving attorneys’ fees at 30% of the gross
25   settlement fund); Larsen, 2014 WL 3404531, at *8–9 (approving attorneys’ fees at 28% of the total
26   settlement fund).
27
     17
       Stephens’ application of Erichson’s article is a stretch in many ways, including the non sequitur that
28   “intense public scrutiny of JUUL” might reduce “settlement administration” costs. Stephens Obj. at 21.
                                               32
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 1          Stephens argues that the Court should exclude settlement and litigation expenses from the fee
 2   calculation because they are not part of the value received by members of the Class. Stephens Obj. at 8-
 3   9. The Ninth Circuit rejected this same objection from Stephens’ counsel in In re Online DVD. 779 F.3d
 4   at 953 (rejecting argument that “the $4.5 million in notice and administrative costs . . . do not inure to
 5   the benefit of the class”). The Ninth Circuit explained that “administrative costs in particular make it
 6   possible to distribute a settlement award ‘in a meaningful and significant way.’ Similarly, notice costs
 7   allow class members to learn about a settlement and litigation expenses make the entire action possible.”
 8   Id. Stephens likewise provides no basis for his assertion that litigation expenses—which are essential to
 9   the creation of a class recovery in the first place—do not benefit the Class. While Stephens argues that
10   the better “policy” is to base fees on the net settlement, the Ninth Circuit in Powers rejected that bright
11   line rule (229 F.3d at 1258), and district courts have consistently granted awards based on the gross
12   settlement where the circumstances warrant it. Nor does the policy of incentivizing efficient cost
13   expenditures apply here: as Class Counsel explained, the requested expense payment of $4.1 million—
14   which Stephens does not challenge—is reasonable and reflects substantial cost-savings and efficiencies
15   due to the nature and conduct of this litigation. Fee and Expense Motion at 18-19. Stephens’ general
16   policy preferences cannot serve as a substitute for what is reasonable in this case.
17
            B.      Stephens’ Arguments Concerning the Lodestar Crosscheck Are Baseless
18
            Stephens argues that a “lodestar crosscheck does not support the requested fee.” Stephens Obj. at
19
     11. As a threshold matter, use of a crosscheck of any kind is discretionary, In re Apple Inc. Device
20
     Performance Litig., 50 F.4th 769, 784 (9th Cir. 2022), especially in situations like this where the Court
21
     is intimately familiar with the litigation and the work performed. Andrews v. Plains All American Pipe
22
     L.P., 2022 WL 4453864, at *2 (C.D. Cal. Sept. 20, 2022) (finding a cross-check unnecessary in light of
23
     the “exceptional circumstances of this case and the Court’s extensive involvement in supervising” the
24
     litigation); see also Senne v. Kansas City Royals Baseball Corp., 2023 WL 2699972, at *18 (N.D. Cal.
25
     Mar. 29, 2023) (“a cross-check is not required so long as the court achieves a reasonable result using the
26
     method it selects.”).
27
            Given that a crosscheck is discretionary, there is no basis for Stephens’ assertions that there is a
28
     “strong presumption” that the lodestar amount reflects an appropriate fee award. Stephens Obj. at 18-19.
                                                        33
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 1   The case he relies on for this proposition arose in the context of statutory fee-shifting, not common fund
 2   cases, as Stephens himself acknowledges. Id. at 19 n.13. In common fund cases, the Ninth Circuit has
 3   recognized that the preferred approach is to use the percentage method “in lieu of the more time-
 4   consuming task of calculating the lodestar.” Bluetooth, 654 F.3d at 942.
 5          Stephens overlooks two other important considerations as well. First, even if it were required, the
 6   purpose of a crosscheck is to ensure that the multiplier on Class Counsel’s lodestar is not
 7   “extraordinarily high or low.” Kang v. Wells Fargo Bank, N.A., 2021 WL 5826230, at *16 (N.D. Cal.
 8   Dec. 8, 2021) (reducing a requested 6.24 multiplier to 5.47 after conducting a cross-check). The
 9   crosscheck should “do rough justice” to confirm the reasonableness of an award but should “not result in
10   a second major litigation.” See Hefler v. Wells Fargo & Co., 2018 WL 6619983, at *14 (N.D. Cal. Dec.
11   18, 2018). Second, regardless of the level of deference given to the lodestar figure, the Ninth Circuit has
12   recognized that in the vast majority of megafund cases, fee awards exceed the lodestar (often by a
13   significant amount). Vizcaino, 290 F.3d at 1047; see also In re Prudential Ins. Co. Am. Sales Practice
14   Litig., 148 F.3d 283, 341 (9th Cir. 1998) (“[W]e are cognizant that [m]ultiples ranging from one to four
15   are frequently awarded in common fund cases when the lodestar method is applied(.]”).
16          With respect to the calculation of the lodestar itself, there is no basis for Stephens’ proposed
17   adjustments and, even if there were, substantial adjustments would still result in a multiplier well within
18   the ranges endorsed by the Ninth Circuit and in this District—all of which confirms the reasonableness
19   of the requested fee award.
20
                    1.      Stephens Does Not Show That the Fee is Unreasonable Based on a Lodestar
21                          Crosscheck

22          In the Fee and Expense Motion, Class Counsel offered various metrics to evaluate the lodestar in
23   this case given the services provided by counsel for various plaintiff groups. Dkt. 4055 at 14-16. Each of
24   those metrics shows that the requested fee award is reasonable, even if reduced in the ways Stephens
25   suggests.
26          Lodestar for Class Committee and Other Firms Focused on Class Claims: Considering only time
27   incurred by the six firms whose efforts focused predominantly on the Class claims, the requested fee
28   award amounts to a 2.91 multiplier on the $26,328,149.75 lodestar—a multiplier routinely awarded in
                                            34
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 1   similarly complex litigation. Dkt. 4055 at 15. Even reducing document review and fact deposition time
 2   conducted by these firms time by 75%, the result would be a lodestar of $20,523,481.33 and a 3.7
 3   multiplier—still well within the range of approval, as illustrated by the Ninth Circuit’s affirmance of a
 4   fee award in Vizcaino that was 28% of the common fund and resulted in a 3.65 multiplier. 290 F.3d at
 5   1050-52.
 6          Of course, considering only the time spent by six class firms dramatically understates the
 7   lodestar incurred to the benefit of the Class, which itself suggests that the requested fee award is well
 8   within the range of acceptance in the Ninth Circuit. Consider expert work in this MDL, which proceeded
 9   in two phases: expert reports on common issues (such as the addictiveness of JUUL and its propensity to
10   addict minors), followed by case-specific experts (such as specific causation reports for bellwether
11   personal injury plaintiffs). See Sharp Decl., ¶¶ 95-98. The first phase of common expert work, much of
12   which redounded to the benefit of the Class, was completed in December 2021. Id. Plaintiffs’ counsel
13   other than the six firms primarily focused on class-specific issues spent more than $12.5 million in time
14   working with experts, defending their depositions, reviewing defendants’ competing expert reports, and
15   deposing defendants’ experts. Sharp Reply Decl., ¶ 37. Adding that expert-specific time to the $20.5
16   million attributable to these six firms yields a 2.3 multiplier, again consistent with the range recognized
17   by the Ninth Circuit, and consistent with or well below the multipliers awarded in cases that Stephens
18   cites. See Vizcaino, 290 F.3d at 1051 n.6 (vast majority of multipliers in megafund cases fall between
19   1.0 and 4.0); Facebook, 522 F. Supp. 3d at 633 (4.71 multiplier, which was “in line with comparable
20   settlements”); In re High-Tech Employee Antitrust Litig., 2015 WL 5158730, at *11 (N.D. Cal. Sept. 2,
21   2015) (2.2 multiplier). Taking into account other common benefit categories (e.g., discovery of
22   defendants and third-parties, including analysis and negotiation of responses, and briefing disputed
23   issues), further increases the lodestar and decreases the multiplier.
24          Klonoff Calculation: Professor Robert H. Klonoff, a law professor (and former dean) at Lewis &
25   Clark Law School, submitted a declaration proposing a method of evaluating the lodestar in light of the
26   multiple types of cases in the MDL, which resulted in a 1.36 multiplier if the Court awarded the
27   requested fees. Dkt. 4055 at 15. Applying Stephens’ proposed adjustments, the result is a $37.9 million
28   lodestar (Stephens Obj. at 19 n.12), which is roughly a 2.0 multiplier, and thus consistent with the cases
                                            35
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 1   Stephens relies on and other Circuit precedent.
 2          Lodestar in Discrete Common-Benefit Categories: Class Counsel’s lodestar for several discrete
 3   categories (Factual Investigation, Discovery of Defendants, Document Review, Scientific Research, Fact
 4   Depositions, Class Certification, and Experts) is $107,351,217.50 (.71 multiplier). Adjusting the lodestar
 5   for the Document Review and Fact Deposition categories in the manner suggested by Stephens yields a
 6   lodestar of $43,609,332.66 and a multiplier of 1.75.
 7          Total Lodestar: The requested fee award is a .38 multiplier on the total lodestar incurred in the
 8   MDL through the date of settlement ($199,336,544.05). Dkt. 4055 at 14-15. Even if the lodestar is
 9   calculated using the deductions Stephens advocates and all other time is reduced by 25%, the resulting
10   lodestar would be $99,933,325.28, which translates to a substantial negative multiplier of .77. For Class
11   Counsel’s award to match their lodestar, the Court would need to apply Stephens’ deductions and reduce
12   the remaining lodestar by an unreasonable 42%. And even if the Court applied the staff attorney rate of
13   $63.77 that Stephens says should be applied to document review hours to all hours across the board in
14   the MDL, the result would be a lodestar of $23,170,453.26—an untenable scenario that even Stephens
15   does not advocate for that would still result in a 3.3 multiplier, which again is within the range of
16   accepted multipliers. For bigger picture context, even assuming an award of the full 30% fee requested
17   by Class Counsel, the attorneys’ fees attributable to the Class fund and the common benefit holdback
18   under Case Management Order 5(A) will amount to less than a 1.0 multiplier on the full lodestar of
19   common benefit time incurred by all firms in the MDL. Sharp Reply Decl., ¶ 39. Again, there is no
20   windfall here.
21          Stephens argues that any multiplier in this case should be minimal because the litigation was
22   purportedly low-risk. Stephens Obj. at 18-25. But as shown above, Stephens’ contention is contrary to
23   the record. For all the reasons discussed in the Fee and Expense Motion and above, Class Counsel
24   earned their fee here. See, e.g., Facebook, 522 F. Supp. 3d at 632 (awarding a 4.71 multiplier in light of
25   “how hard fought this case was and the substantial factual disputes that remained for trial”); High-Tech,
26   2015 WL 5158730, at *10 (2.2 multiplier where “Class Counsel devoted considerable time and effort
27   litigating this case over a period of four years”).
28          Stephens also argues that the Court should consider the value of the Altria settlement. Stephens
                                            36
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 1   Obj. at 8. The Court of course has discretion to consider the total value of the aggregate settlements, but
 2   should do so in the context of a pending fee motion related to the final Altria settlement, as the authority
 3   Stephens relies on did. See In re Transpacific Passenger Air Trans. Antitrust Litig., 2019 WL 6327363,
 4   at *1 (N.D. Cal. Nov. 26, 2019) (considering aggregate amounts of settlements in the context of the
 5   “third and final settlement”). It is premature at this point, however, for the Court to take into account the
 6   potential fees on a settlement that has not even been preliminarily approved. Nor is Stephens correct that
 7   the lodestar reflects time billed after the Settlement. The lodestar data used to generate the relevant
 8   lodestar figures was limited to time billed through December 6, 2022. Sharp Reply Decl., ¶ 41. It is
 9   worth noting, however, that Girard Sharp (the Co-Lead Counsel with primary responsibility for the class
10   litigation) billed over $190,000 between December 6, 2022, and January 31, 2022, finalizing the
11   settlement and related documentation, but has not included that time in the lodestar calculations. Id.
12
                    2.      Stephens’ Contentions Concerning Hourly Rates for Document Review are
13                          Misguided and Seek to Impose an Unreasonable Hourly Rate

14          According to Stephens, Class Counsel have overstated their lodestar by almost $39 million by
15   billing at excessive rates for more than 100,000 hours of document review. Stephens Obj. at 11-13. He
16   argues that the average $422.58 hourly rate for document review is unreasonable because it greatly
17   exceeds the lower hourly rates typically charged for contract or staff attorneys. Id. One problem with
18   Stephens’ argument is that the average rate in this case is consistent with rates approved in this district
19   and elsewhere in California for contract and staff attorneys. See In re MacBook Keyboard Litig., 2023
20   WL 3688452, at *15 (N.D. Cal. May 25, 2023) (approving $425 for contract attorneys); In re Glumetza
21   Antitrust Litig., 2022 WL 327707, at *8 (N.D. Cal. Feb. 3, 2022) (finding $400 for staff attorney
22   reasonable); Uziel v. Super. Ct., 2021 WL 5830040, at *8 (C.D. Cal. Oct. 19, 2021) (contract attorney
23   rates of $375 to $450 an hour reasonable). Focusing on the average billing rate as Stephens does is also
24   misguided because it erroneously assumes that most of the work was, or should have been, undertaken
25   by contract attorneys. Document review in this complex case was conducted in a variety of contexts and
26   required a substantial amount of second or third level review involving attorneys with higher levels of
27   experience, which is expected in complex litigation. See, e.g., In re TFT-LCD (Flat Panel) Antitrust
28   Litig., 2012 WL 13209696, at *8 (N.D. Cal. Nov. 9, 2012) (“higher-billing lawyers would be expected
                                            37
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 1   to perform some document review”); Martin v. Toyota Motor Credit Corp., 2022 WL 17038908, at *13
 2   (C.D. Cal. Nov. 15, 2022) (declining to reduce hours or rates where partners were involved in high level
 3   document review); Lawson v. Spirit AeroSystems, Inc., 2020 WL 6343292, at *12 (D. Kan. Oct. 29,
 4   2020) (“[A] party is not required to entirely exclude mid- and senior-level attorneys from high-level
 5   involvement in document review.”). And even with respect to first-level document review, courts have
 6   approved of the use of staff attorneys. See Sharp Rely Decl., Ex. 10 (United States, et al. v. Allergan,
 7   No. 8:18-cv-00203, Dkt. 195 at 3 (C.D. Cal. July 24, 2023) (approving a $475 hourly rate and rejecting
 8   argument that first-level review should have been done by contract attorneys instead of staff attorneys)).
 9   Stephens’ argument that staff attorneys should be billed “at cost” also makes no sense; staff attorneys
10   are law firm employees.
11          While Stephens insists that all document review is created equal and should have been delegated
12   across the board to contract attorneys at a rate of no more than $63.77, a court “may not attempt to
13   impose its own judgment regarding the best way to operate a law firm, nor to determine if different
14   staffing decisions might have led to different fee requests. The difficulty and skill level of the work
15   performed, and the result achieved—not whether it would have been cheaper to delegate the work to
16   other attorneys—must drive the district court’s decision.” Moreno v. City of Sacramento, 534 F.3d 1106,
17   1115 (9th Cir. 2008). The “[u]se of more experienced attorneys for certain tasks can be more efficient
18   than deploying less senior attorneys.” Stonebrae, L.P. v. Toll Bros., 2011 WL 1334444, at *13 (N.D.
19   Cal. Apr. 7, 2011), aff’d, 521 F. App’x 592 (9th Cir. 2013).
20          Document review in this case was not straightforward. JLI produced more than 26 million pages
21   of documents while the Altria Defendants produced another 6.6 million pages. Sharp Decl., ¶ 49. A
22   discovery committee was charged with organizing and supervising the document review teams and
23   developed a multi-tier document review structure designed to identify key documents and potential
24   deponents. Id. Staffing second and third level document review with more experienced attorneys was
25   thus reasonable and necessary. See Pike v. Cnty. of San Bernardino, 2020 WL 1049912, at *5 (C.D. Cal.
26   Jan. 27, 2020) (“[T]he [C]ourt does not agree that document review is menial or mindless work; in
27   complex civil litigation such as the instant case, it is a critically important and challenging task.”)
28   (citation omitted). Stephens cites to no case imposing an across-the-board rate of anywhere close to $64
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 1   for all document review time. Even the cases Stephens relies on the most found that a $240 hourly rate
 2   would be at the “low end” of rates for contract and staff attorneys. Anthem, 2018 WL 3960068, at *20.
 3   And setting all this aside, as discussed above, applying the unreasonable adjustments Stephens suggests
 4   still does not materially alter the results of the lodestar cross-check.
 5
                     3.      Stephens’ Argument that the Lodestar is “Likely Overstated” is Contrary to
 6                           the Record and Based on Speculation

 7                           a)      The Lodestar Reflects the Amount of Work Conducted by Class
                                     Counsel
 8
 9           Looking solely at the total number of hours spent, Stephens argues that the number of hours

10   spent is “outrageously inflated on its face.” Stephens Obj. at 1. The record confirms otherwise. The

11   Court has closely overseen this litigation, holding monthly status conferences and often entertaining

12   appearances multiple times per month (including before then-Magistrate Judge Corley for discovery

13   matters). Based on these firsthand observations, the Court has frequently commented on both the

14   tremendous volume of work that occurred in the MDL, and the expeditious and professional manner in

15   which that work was carried out. At a January 12, 2022, conference, for example, Judge Corley stated

16   that she was “super impressed” with “how much [counsel] have accomplished.” Dkt. 2767 at 10. And in

17   an August 18, 2021, discovery conference, Judge Corley remarked that the parties’ efforts to complete

18   “this much discovery” under tight deadlines “is a model, a model MDL.” Dkt. 2281 at 21. These efforts

19   directly led to the expeditious pace at which these cases were prepared for trial, a key pressure point that

20   facilitates settlement. As this Court recognized, throughout the litigation there was “so much work going

21   on” (Dkt. 3430 at 10) and those efforts put “these cases into a place where they can be resolved” (Dkt.

22   3772 at 40).

23           The objective facts also provide no basis for speculation that the lodestar is overstated: over 33

24   million pages reviewed, over 100 fact depositions taken, discovery of over 80 class representatives

25   conducted, depositions of 20 class representatives defended, 43 combined plaintiff and defense experts

26   who rendered reports and were deposed, extensive briefing across a panoply of topics (including

27   motions to strike 22 of plaintiffs’ experts spanning hundreds of pages, multiple rounds of motions to

28   dismiss, highly contested class certification proceedings), and of course, preparation for the Class trial,

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 1   and pretrial work in personal injury and government entity bellwether cases that also served to advance
 2   the class case towards trial readiness. Sharp Decl., ¶ 42. Stephens makes no mention of these facts.
 3   Without any actual review or acknowledgement of the record, Stephens has no basis for asserting that
 4   too many hours were spent in the litigation or that the lodestar is overstated.
 5
                             b)      Stephens’ Complaints About Class Counsels’ Billing Records Are
 6                                   Unfounded

 7           Stephens’ contention that Class Counsel failed to provide detailed billing records is likewise
 8   baseless. As explained in the Fee and Expense Motion, as part of Judge Andler’s review, Class Counsel
 9   provided her with detailed billing records showing the amount billed by each lawyer, for each task, on
10   each day. Sharp Decl., ¶ 121. Those billing records were then provided to Judge Orrick throughout the
11   course of the litigation. E.g., id., Ex. 1 at 1-3 (letter transmitting time reports to the Court). Judge
12   Andler’s assessment of the time billed after reviewing those records was that “the tasks, hours and
13   expenses incurred were appropriate, fair and reasonable and for the common benefit.” E.g., Sharp Decl.,
14   Ex. 1 at 12. Thus, Stephens’ objection amounts to an assertion that the Court should not accept the
15   lodestar calculation because he did not have access to the records, but Stephens cites no case suggesting
16   that Class Counsel is required to provide their detailed billing record to objectors. See Chambers v.
17   Whirlpool Corp., 980 F.3d 645, 672 (9th Cir. 2020) (rejecting contention that objector was “entitled to
18   full access to class counsel’s billing records” even where the fee is lodestar-based and distinguishing
19   Yamada v. Nobel Biocare Holding AG, 825 F.3d 536 (9th Cir. 2016), on which Stephens relies);
20   Hartless v. Clorox Co., 273 F.R.D. 630, 644–45 (S.D. Cal. 2011), aff’d in part, 473 F. App’x 716 (9th
21   Cir. 2012) (“The Court overrules the objectors' request for complete time records and postponement of
22   the issue until they are received. Neither California courts or federal courts require counsel to submit
23   complete time records when requesting an attorneys’ fee award.”).
24           As noted above, Stephens’ approach overlooks the principle that a lodestar cross-check should
25   not be a line-by-line review to re-calculate the lodestar or to set a fee based on the lodestar, and instead
26   must be sufficient “to ensure that class counsel has done the work necessary to justify the fee sought.” In
27   re Capacitors Antitrust Litig., 2018 WL 4790575, at *6 (N.D. Cal. Sept. 21, 2018). As part of this
28   analysis, “district courts may rely on summaries submitted by the attorneys and need not review actual
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 1   billing records.” Id. (quotation omitted); see also Rodriguez v. Nike Retail Services, Inc., 2022 WL
 2   254349, at *5 (N.D. Cal. Jan. 27, 2022); In re Nat’l Collegiate Athletic Ass’n Athletic Grant-in-Aid Cap
 3   Antitrust Litig., 768 Fed. App’x 651, 654 (9th Cir. Apr. 17, 2019). Thus, even if Judge Andler did not
 4   personally review every time entry, her review was more than adequate for the purposes of a lodestar
 5   cross-check.
 6           Neither of the reasons Stephens offers for disregarding Judge Andler’s review has merit. First,
 7   Stephens is incorrect that review of time records is “non-delegable.” Stephens Obj. at 17. Rule 23(h) is
 8   explicit that “[t]he court may refer issues related to the amount of the award to a special master or a
 9   magistrate judge, as provided in Rule 54(d)(2)(D).” Appointing a special master to oversee the review of
10   common benefit fees is common in complex litigation, and Circuit courts have repeatedly approved of
11   the use of special masters in reviewing attorneys’ fees. E.g., In re Genetically Modified Rice Litig., 764
12   F.3d 864, 872 (8th Cir. 2014) (district court did not abuse its discretion when it adopted special master’s
13   analysis on attorneys’ fees); Carlsen v. Glob. Client Sols., LLC, 542 F. App’x 594, 595 (9th Cir. 2013)
14   (affirming “an order granting and approving attorney fees as recommended by the [special master’s]
15   Report”); UFCW Loc. 880-Retail Food Emps. Joint Pension Fund v. Newmont Min. Corp., 352 F. App’x
16   232, 237 (10th Cir. 2009) (“[A]dditional insurance for protecting the interests of the class is provided
17   where, as here, fee applications are referred to a special master.”). Courts in this district also routinely
18   rely on special masters to assist with fee requests. E.g., Adkins v. Facebook, Inc., 2021 WL 1817047, at
19   *7 (N.D. Cal. May 6, 2021); In re Capacitors Antitrust Litig., 2020 WL 6544472, at *2 (N.D. Cal. Nov.
20   7, 2020); In re: Cathode Ray Tube (CRT) Antitrust Litig., 2016 WL 4126533, at *3 (N.D. Cal. Aug. 3,
21   2016); In re Dynamic Random Access Memory Antitrust Litig., 2014 WL 12879521, at *2 (N.D. Cal.
22   June 27, 2014). The fact that Special Master Andler was appointed and carried out her duties during the
23   litigation, as opposed to post-settlement, is irrelevant. And there is no basis for Stephens’ suggestion that
24   a retired judge abdicated her court-appointed responsibilities in exchange for a payout for Class
25   Counsel. Stephens Obj. at 17. There is nothing unusual about a special master being compensated by
26   plaintiffs’ counsel, as Rule 53 expressly contemplates that one side may be responsible for paying a
27   special master’s fees. See Fed. R. Civ. P. 53(g)(2) (compensation may be paid either from a fund within
28   the court’s control or “by a party or parties[.]”).
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 1          Second, Stephens’ insinuation that Judge Andler did not “zealously scrutinize the billing
 2   submissions” (Stephens Obj. at 17-18) is similarly baseless. Judge Andler provided feedback to Class
 3   Counsel on the time records and issued reports regularly and in accordance with her Court-appointed
 4   duties. See Sharp. Decl., Ex. 1. This review is well beyond the type of “rough justice” that a lodestar
 5   crosscheck should accomplish, as opposed to a fuller inquiry that a lodestar-based fee award might
 6   require. Hefler v. Wells Fargo & Co., 2018 WL 6619983, at *14 (N.D. Cal. Dec. 18, 2018); see also In
 7   re Apple iPhone/iPod Warranty Litig., 40 F. Supp. 3d 1176, 1181 (N.D. Cal. 2014) (lodestar information
 8   was sufficient to show that “applying a percentage based fee recovery is within reason” even if it would
 9   be “woefully insufficient” under the lodestar method). Courts, including this Court, have rejected the
10   notion that a crosscheck must “achieve auditing perfection” or transform courts into “green-eyeshade
11   accountants.” Hefler, 2018 WL 6619983, at *14; Larsen, 2014 WL 3404531, at *9 (“The lodestar cross-
12   check calculation need entail neither mathematical precision nor bean counting[.]”) (quotation omitted).
13   Stephens’ quibbles with Judge Andler reserving the right to revisit certain entries are immaterial and, as
14   Stephens points out, when Judge Andler did raise concerns, they were adequately addressed by counsel.
15   Stephens Obj. at 18.
16          Stephens also mischaracterizes Judge Andler’s work. Judge Andler was provided with the full
17   lodestar amount. Sharp Reply Decl., ¶ 46. Stephens attempts to add up the lodestar figures in Judge
18   Andler’s reports and arrived at, what he claims, is only $156 million in reviewed time. Stephens Obj. at
19   16 (citing Hedley Decl, Exh. 5); Sharp Reply Decl., ¶ 46. But this analysis is riddled with errors. For
20   example, Stephens’ calculation includes zero dollars in lodestar attributable to Judge Andler’s sixth
21   report even though the report clearly says the time review was roughly $32 million. Sharp Decl., Ex. 1 at
22   80; Sharp Reply Decl., ¶ 46.
23                          c)      Stephens’ Other Assertions Are Baseless
24          Stephens contends that the billing rate ranges provided are “arbitrary.” But the rates are well
25   within the ranges regularly approved in this District, and Stephens does not suggest otherwise. He also
26   suggests that billing rate ranges should have been provided based on more standard percentiles, and that
27   because Class Counsel did not present the information in this format, they must have been “cherry
28   picking.” Stephens Obj. at 17. Stephens misconstrues the information Class Counsel provided. Class
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 1   Counsel identified well-accepted billing rate ranges and provided the Court with information showing
 2   what percentage of hours billed were within those ranges, which allows the Court to assess the extent of
 3   any potential outlier rates. Class Counsel then reported the resulting percentages (regardless of what
 4   they were). Stephens’ approach of reporting just the outlier rates does not provide any information about
 5   what share of the rates are within widely-accepted ranges. In any event, these issues are moot as Class
 6   Counsel showed that capping all hourly rates at these ranges had a minimal effect on the lodestar. Fee
 7   and Expense Motion at 17-18.
 8          Stephens also argues that the number of hours billed in the “Fact Deposition” category was
 9   excessive given the number of depositions conducted. Stephens Obj. at 15. The number of hours
10   expended on depositions resulted in substantial efficiencies in other parts of the case. First, many of the
11   depositions were conducted with the expectation they would be used at trial, which requires an
12   additional degree of preparation and coordination in setting the goals of the deposition. Sharp Reply
13   Decl., ¶ 44. And many of the depositions were in fact played in the SFUSD trial (and, as noted, the
14   Minnesota AG trial). Id., ¶¶ 9–10. Second, the presence of lawyers at depositions—in addition to the
15   lawyer taking the deposition—resulted in greater familiarity with the record, more efficient preparation
16   for related depositions, more effective briefing, and reduced later time reviewing transcripts. Id., ¶ 45. In
17   any event, as detailed above, revising the hours in the Fact Depositions categories as Stephens suggests
18   does not impact the lodestar crosscheck analysis.
19          And while Stephens heavily relies on Anthem and that court’s concern with excessive billing and
20   the number of firms involved, the court found that the “novel legal issues” in the case made use of a
21   lodestar unhelpful and granted a 27% fee award. 2018 WL 3960068, at *5, 16. Anthem is also factually
22   distinguishable. There, the court rejected an eight-firm leadership team in favor four co-leads, yet 53
23   firms billed time. Id. at *3. Here, after considering the complexity and multifaceted nature of this case,
24   the Court appointed lawyers from 21 firms to leadership positions. Dkt. 341 at 1-2. Eighty-eight percent
25   of the lodestar was billed by these firms. Sharp Reply Decl., ¶ 38. The balance was of the lodestar was
26   largely incurred by JCCP counsel, firms representing bellwethers clients, and a firm whose contributions
27   were limited to the non-duplicative task of overseeing and organizing class plaintiff discovery. Id.
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 1           C.     The Court May Consider Professor Klonoff’s Opinions in Arriving at An
                    Independent Conclusion Regarding a Reasonable Fee Award
 2
 3           In support of the Fee and Expense Motion, Class Counsel submitted a declaration from Professor

 4   Klonoff who, in addition to being a law professor, is the author or co-author of several texts on

 5   aggregate litigation (including the Wright & Miller Federal Practice and Procedure volumes on class

 6   actions and attorneys’ fees) and has personally handled more than 100 class actions as a lawyer with a

 7   major international law firm and thereafter. Klonoff Declaration, Dkt. 4056-2, ¶¶ 2-6.

 8           Stephens seeks to strike Professor Klonoff’s declaration, arguing it is impermissible expert

 9   testimony. Stephens Obj. at 9-11. But numerous courts have held that “expert testimony regarding

10   attorneys’ fees is appropriate.” Parkinson v. Hyundai Motor Am., 796 F. Supp. 2d 1160, 1172 (C.D. Cal.

11   2010) (citing Winterrowd v. Am. Gen. Annuity Ins. Co., 556 F.3d 815, 827 (9th Cir. 2009)). Courts

12   routinely rely on expert testimony from law professors and other attorneys when evaluating the

13   reasonableness of a fee request, and courts in this district and across the country have cited Professor

14   Klonoff’s opinions and analysis in class settlements and attorneys’ fees requests. See, e.g., In re

15   Volkswagen “Clean Diesel” Mktg., Sales Pracs., & Prod. Liab. Litig., 2017 WL 2212783, at *21 (N.D.

16   Cal. May 17, 2017); Jabbari v. Wells Fargo & Co., 2018 WL 11024841, at *7 (N.D. Cal. June 14,

17   2018).18

18   18
        See also Broiler Chicken, 2022 WL 6124787, at *2 and n.4 (noting that “[a]t the Court’s invitation”
19   the plaintiffs had “submitted an expert declaration on the previous [fee] motion by Professor Robert
     Klonoff” and that the court “referenced and cited” the declaration as support for its findings); Syngenta,
20   357 F. Supp. 3d at 1112 (“The Court notes at the outset that counsel have supported their request with an
     expert declaration from Professor Robert Klonoff. The Court agrees with Professor Klonoff that the
21
     facts and circumstances of this case . . . distinguish this case from other common fund cases with large
22   settlements and warrant a substantial fee award.”); In re Syngenta AG MIR 162 Corn Litig., 2018 WL
     6839380, at *4 (D. Kan. Dec. 31, 2018) (crediting the analysis of Professor Klonoff over that of five
23   other professors that submitted declarations); In re AT & T Mobility Wireless Data Servs. Sales Tax
24   Litig., 792 F. Supp. 2d 1028, 1037 (N.D. Ill. 2011) (“credit[ing] Klonoff’s opinions regarding the
     fairness of the fee request); In re Oil Spill by Oil Rig Deepwater Horizon, 295 F.R.D. 112, 165 (E.D. La.
25   2013) (offering declarations “regarding the certifiability of the Class and the fairness of the
     Settlement”); In re Loestrin 24 Fe Antitrust Litig., 2020 WL 4038942, at *5 (D.R.I. July 17, 2020) (court
26   relied in part on a “comprehensive and helpful declaration” from a law professor in analyzing fee
27   request), report and recommendation adopted, 2020 WL 5201275 (D.R.I. Sept. 1, 2020); Savani v. URS
     Pro. Sols. LLC, 2014 WL 172503, at *8 (D.S.C. Jan. 15, 2014) (noting law professor’s “expert
28   testimony has been accepted by District Courts in the region on the matter of reasonableness of

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 1           Stephens does not question Professor Klonoff’s qualifications, but asks the Court to strike or
 2   ignore his declaration because it purportedly contains improper legal conclusions. Stephens Obj. at 8-9.
 3   But the Daubert standard Stephens invokes concerns the admissibility of expert testimony at trial, and
 4   “[c]ourts have held that Rule 702 is flexible at the final approval stage.” In re Equifax Inc. Customer
 5   Data Sec. Breach Litig., 999 F.3d 1247, 1268 n. 14 (11th Cir 2021) (citing Int’l Union, United Auto.,
 6   Aerospace, and Agric. Implement Workers of Am. v. Gen. Motors Corp., 497 F.3d 615, 636–37 (6th Cir.
 7   2007) (“The Rule 702 argument, again, overlooks the differences between a full trial and a fairness
 8   hearing. In a trial, the judge must strictly screen expert opinions for evidentiary relevance and reliability
 9   because a jury often has difficulty assessing such evidence. In a fairness hearing, the judge does not
10   resolve the parties’ factual disputes but merely ensures that the disputes are real and that the settlement
11   fairly and reasonably resolves the parties’ differences.”) (quotation marks and citation omitted); William
12   B. Rubenstein, 4 Newberg on Class Actions § 13:42 (6th ed.) (“The court has wide discretion in
13   establishing the procedures of the fairness hearing, which need not resemble a trial. Accordingly,
14   traditional rules of evidence do not necessarily apply to the fairness hearing.”).19 Accordingly, “Daubert
15   does not govern at the final approval stage” and the Court may consider Professor Klonoff’s opinions.
16   See In re Nat’l Football League Players Concussion Injury Litig., 821 F.3d 410, 443 (3d Cir. 2016)
17   (“[W]e have never held that district courts considering the fairness of a class action settlement should
18   consider the admissibility of expert evidence under Daubert.”); Am. Int’l Grp., Inc. v. ACE INA
19   Holdings, Inc., 2012 WL 651727, at *20 (N.D. Ill. Feb. 28, 2012) (“[T]he Federal Rules of Evidence and
20   the requirements of Daubert and its progeny do not apply at a fairness hearing—and similarly do not
21   apply at a hearing on fees and costs. . . .”). Doing so would not usurp the role of the Court, as Stephens
22
23   attorney’s fees awards”); Asghari v. Volkswagen Grp. of Am., Inc., 2015 WL 12732462, at *43 (C.D.
     Cal. May 29, 2015).
24
     19
        The cases Stephens cites are inapposite as they concern the admissibility of expert testimony at trial.
25   See, e.g., Nationwide Transp. Fin. v. Cass Info. Sys., Inc., 523 F.3d 1051, 1058 (9th Cir. 2008) (appeal
26   concerning district court’s rulings on motions in limine excluding expert testimony prior to trial); Pinal
     Creek Grp. v. Newmont Mining Corp., 352 F. Supp. 2d 1037, 1042 (D. Ariz. 2005) (excluding certain
27   law professor testimony at trial). In another case, the court simply assumed that Daubert applies at the
     final approval stage. See Stathakos v. Columbia Sportswear, 2018 WL 1710075, at *5 n.6 (N.D. Cal.
28   Apr. 9, 2018).
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 1   suggests (Stephens Obj. at 10), because the Court will make a decision regarding Class Counsel’s fee
 2   request based on “its own independent judgment.” See Equifax, 2020 WL 256132, at *43 (rejecting
 3   similar argument and declining to strike Professor Klonoff’s and other experts’ declarations).
 4           Even if Daubert did apply here—and it does not—Professor Klonoff’s declaration satisfies the
 5   standard for admissibility, because it is helpful to the Court and based on his experience litigating,
 6   teaching, and writing about class actions, as well as from participating in the 2018 amendments to Rule
 7   23 while serving on the Federal Civil Rules Advisory Committee. See, e.g., Kumho Tire Co., Ltd. v.
 8   Carmichael, 526 U.S. 137, 152 (1999) (district court has “broad latitude” to admit expert testimony
 9   based on “professional studies or personal experience”).20 Moreover, “[t]here is less need for the
10   gatekeeper to keep the gate when the gatekeeper is keeping the gate only for himself.” United States v.
11   Brown, 415 F.3d 1257, 1269 (11th Cir. 2005); cf. Att’y Gen. of Ok. v. Tyson Foods, Inc., 565 F.3d 769,
12   779 (10th Cir. 2009) (“[W]hile Daubert’s standards must still be met, the usual concerns regarding
13   unreliable expert testimony reaching a jury obviously do not arise when a district court is conducting a
14   bench trial.”).
15           In addition, a crucial part of Professor Klonoff’s opinion involves practical suggestions for how
16   to divide up the total JUUL lodestar among multiple cases, a fact-based challenge that is particularly
17   well-suited for a fee expert because no case law is completely analogous. If the Court believes that any
18   portion of Professor’s Klonoff’s declaration amounts to a legal conclusion, the Court may simply
19   disregard that portion, rather than rejecting the entire declaration. See Parkinson, 796 F.Supp.2d at 1172
20   & n.6 (denying defendant’s motion to strike declaration from professor, but noting that the court would
21   disregard any legal conclusions); In re Regions Morgan Keegan Sec., Derivative & Erisa Litig., 2012
22   WL 12840260, at *6 (W.D. Tenn. Jan. 4, 2012) (“the district judge is capable of sifting through the
23
24   20
       Stephens also criticizes Professor Klonoff’s conclusions because they are based on surveys of law, but
25   courts have relied on expert opinions based on similar surveys. See, e.g., In re Fed. Nat’l Mortg. Ass’n
     Sec., Derivative, & “ERISA” Litig., 4 F. Supp. 3d 94, 111 (D.D.C. 2013) (“empirical study” of fee
26   awards in class actions discussed in law professor’s declaration supported reasonableness of fee); In re
     Loestrin, 2020 WL 4038942, at *7; In re Checking Acct. Overdraft Litig., 830 F. Supp. 2d 1330, 1366
27
     (S.D. Fla. 2011).
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 1   declarations, disregarding these parts that may simply be legal argument, and focus on the pertinent
 2   portions”); Miller v. Cincinnati, 709 F. Supp. 2d 605, 619-20 (S.D. Ohio 2008) (a court “is fully able to
 3   disregard the implication of any impermissible legal conclusion”).
 4          The request to strike or disregard Professor Klonoff’s declaration should be denied.
 5   IV.    CONCLUSION
 6          For the foregoing reasons, Class Plaintiffs respectfully requests that the Court grant final
 7   approval of the JLI Settlement and Class Counsel respectfully requests that the Court grant their motion
 8   for attorneys’ fees, expenses, and service awards.
 9
10   Dated: July 28, 2023                                 Respectfully submitted,
11
                                                          By: /s/ Dena C. Sharp
12
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                   ATTORNEYS’ FEES, EXPENSES, AND SERVICE AWARDS
                                CASE NO. 19-md-02913-WHO
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 1                                           APPENDIX A
 2
 3      Objector(s)      Location of    Objects to      General Description of      Section Below
 4                       Objection     Substance of          Objection                in Which
                           in the          JLI                                       Objection is
 5                        Record       Settlement?                                   Addressed
 6   Cade Beauparlant,   Dkt. 4062     Yes            Request that $30 million of   II.B.1
     Matthew                                          the JLI Settlement be
 7   Murhphy, and                                     distributed as cy pres to a
     Marianne Savage                                  non-profit organization
 8
     John Gugliotta      Dkt. 4026     Yes            Various objections to the     II.B.2
 9                                                    notice and the absence of
10                                                    non-monetary relief
     Olin Ashak          Dkt. 4086-1   No             Disagrees with the basis of   II.B.3
11
                                                      the lawsuit and the process
12                                                    for objecting

13   Samuel Marcom       Dkt. 4033     No             Disagrees with the basis of   II.B.3
                                                      the lawsuit and JUUL being
14                                                    singled out among e-
                                                      cigarettes
15
     Third-party filer Dkts. 4087-     No             Objection to Class Counsel’s II.B.4
16   ClaimClam and     90                             decision to disallow claims
     numerous                                         to be filed through third-
17
     ClaimClam clients                                party filer ClaimClam
18   Lawanda Ready       Dkt. 4086-2   No             No basis provided             II.B.5
19   John Stampfer       Dkt. 4086-3   No             No basis provided             II.B.5
20   Melisa Stawicki     Dkt. 4077     No             No basis provided             II.B.5
21   Austin Toole        Dkt. 4086-4   No             No basis provided             II.B.5

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 1                                         CERTIFICATE OF SERVICE
 2          I hereby certify that on July 28, 2023, because the CM/ECF system was inoperable at the time of
 3   filing, I sent the foregoing document via email to the Court and to each of the objectors and objectors’
 4   counsel listed below. On July 29, 2023, once the CM/ECF system becomes operable again, I caused the
 5   foregoing document to be electronically filed with the Clerk of the Court using, which will automatically
 6
     send notification of the filing to all counsel of record.
 7
 8     Andrew Rainer (admitted pro hac vice)                     Neville S. Hedley (SBN 241022)
       arainer@phaionline.org                                    HAMILTON LINCOLN LAW INSTITUTE
 9     Mark A. Gottlieb (admitted pro hac vice)                  CENTER FOR CLASS ACTION FAIRNESS
       mark@phaionline.org                                       1629 K Street NW, Suite 300
10
       PUBLIC HEALTH ADVOCACY INST.                              Washington, DC 20006
11     360 Huntington Avenue, CU117                              Voice: 312-342-6008
       Boston, MA 02115                                          Email: ned.hedley@hlli.org
12     (617) 304-6052
                                                                 Attorneys for Objector Reilly Stephens
13
       Attorneys for Objectors Matthew Murphy,
14     Cade Beauparlant, And Marianne Savage

15
16   Individual objectors:
17          John D. Gugliotta (johng@inventorshelp.com)
18          Samuel Marcom (Sammarcom123@gmail.com)
19
            Melisa Stawicki (missyfourniea@yahoo.com)
20
            Zim Hang (zim@getclaimclam.com)
21
            Olin Ashak (olin.ashak@hotmail.com
22
23          Austin Toole (austintoole15@gmail.com)

24          Lawanda Ready (Lawandaready@gmail.com)

25          John Stampfer (johnstampfer@gmail.com)
26
                                                           By: /s/ Dena C. Sharp
27                                                                 Dena C. Sharp
28
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